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                                               Exhibit A
                                                                                -
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                                                                                                                                            1



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                                                                                FILED
                                                                          ALAMEDA COUNTY
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              5 Facsimile: (619) 234-4048                                        MARO 6 2017
              6 Attorneys for STEVEN DE LA CRUZ,
                on behalf of himself, all others similarly situated,
                                                                         CLERK
                                                                         By -
                                                                                 W,lJJ!l!
                                                                                 JAWMAS,     Dep~
                                                                                                         coultf
              7 and on behalf of the general public .

              .8
                                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
              9
                                            IN AND FOR THE COUNTY OF ALAMEDA
             10                                                                                                I




             11      STEVEN DE LA CRUZ on behalf of               .Case No.     RG1785179z
                   • himself, all others sirriilarly situated,
              12     and on behalf of the general public,             PLAINTIFF'S CLASS ACTION
                                                                 . ·. COMPLAINT FOR DAMAGES,
             13      Plaintiffs,                                      INJUNCTIVE RELIEF, DECLARATORY
              14                                                      RELIEF., AND RESTITUTION
                     V.

             15                                                        1) Fa,ilure to Pay All Straight Time·:
                     THERMO FISHER SCIENTIFIC,
                                                                           Wages;
. (          16      INC.; and DOES 1-100,
                                                 ':'         j
                                                                       2) Fa1ilure to Pay Overtime;
                                                        -'
                                                 .     '\              3) Fa1ilure to Provide Meal Periods (Lab.
             17      Defendants.
                                                                           C.,de §§ 226.7, 512, JWC Wage Order
             18                                                          · Nos. 9-1998, 9-2000, 9-2001(11); Cal.
                                                                           Code Regs., tit. 8 § 11090);
             19                                                        4) Flldlure to Authorize and Permit Rest
                                                                           PE:riods (Lab. Code§ 226.7; IWC
             20                                                            Wage Order Nos. 9-1998, 9-2000, 9-.
                                                                           2001(12); Cal. Code Regs. Title 8 §
             21
                                                                           11090);
             22                                                        5) K1t1owing and Intentional Failure to
                                                                           Comply with Itemized Employee
             23                                                            Wage Statement Provisions (Lab.
                                                                           Code§§ 226, 1174, 1175);
             24                                                        6) Failure to Pay AU Wages Due at the
                                                                           Time of Termination of Employment
             25
                                                                           (Lab. Code §§201-203);
             26                                                        7) Vfolation of Unfair Competition Law
                                                                           (E:us. & Prof. Code § 17200, et seq.).
             27
                                                                         DEMAND FOR JURY TRIAL
             28
                                                                                                                                        ta
                                                                                                                                        a(
                                                                                               '.                                       'Tl
                   CLASS ACTION COMPLAINT                                                                                                !>
                                                                                                                                        <
                           tt
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        l Plaintiffs STEVEN DE LA CRUZ, on behalf of himself, all others similarly situated, and on behal
       2
            of the general public, complains of Defendants and/or DOES and for causes of action and alleges:
       3
            1.      This is a class action pursuant to Califomia Code of Civil Procedure section 382 on behal
       4
                    of Plaintiff, STEVEN DE LA .CRUZ, and aLI non-exempt, hourly workers who ar.
       5
                    presently or formerly employed by THERMO FISHER SCIENTIFIC, INC., and/or DOES
       6
                   .and/or its subsidiaries or affiliated companies and/or predecessors and/or DOES, withi
       7
                    the State of California.
       8,
            2.      At all times mentioned herein, THERMO FISHER SCIENTIFIC, INC., and/or DOES hav
       9
                   ·conducted business in Alameda County and elsewhere ~ithin California.
      10
            ..,,
            "I
                    At all times mentioned herein, THERMO FISHER SCIENTIFIC, INC., and/or·subsidiarie
                                                    '
      11                                  '                                                       '




                    or affiliated companies and/or DOES, within th: 'State of California, have, among othe
      12
                   : things, employed current ·and former non-exempt employees.
      13
            4.     ·At all _times me11tioned herein, the common policies and practices of THERMO FI SHE
      14
                    SCIENTIFIC, INC.·, and/orDOES was a direct cause of Defendants' failure to comply wit
     , 15
                    California's wage and h<mrs laws, Wage Orders, and/or the California Labor Code, as se
      16                                                        I

                                                                                             ,\
                    forth more fully within.
      17
            5.      For at least four years prior to the filing of this action and through to the present, Defendant
      18

      19            THERMO FISHER SCIENTIFIC, INC., and/or DOES have had a consistent policy and/o

      20            practice of not paying Plaintiff and its Non-Exempt Employees for all of the hours the

      21            worked. Specifically, Defendants THERMO FISHER SCIENTIFIC, INC., and/or DOES

      22            have had a continuous and widespread policy of "clocking-out" Plaintiff and thos

      23            similarly situated for thiJiy (30) minute meal periods (referred to as "auto-meal deduct"),

      24            even though Plaintiff and those similarly situated were suffered and/or permitted to wor

      25            during these deduction periods, thereby deducting thirty (30) minutes of paid time

      26            including straight time and overtime.

      27 6.         For at least four years prior to the filing of this action and through to the present, Defendant

      28            THERMO FISHER SCIENTIFIC, INC., and/or DOES have had a consistent policy and/o


            CLASS ACTION COMPLAINT                             2
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                 practice of failing to provide all straight time and overtime wages owed to Non-Exemp
       2
                ' Employees, as mandated under the California Labor Code and the implementing rules an
       3
                 regulations of the Industrial Welfare Commission's ("IWC") California Wage Orders.
       4
           7.   · For at least four years prior to the filing of this action and t~rough to the present, Defendant
       5
                 THERMO FISHER SCIENTIFIC, INC., and/o:r DOES have had a consistent""policy o
       6
                 requiring Non-Exempt Employees within the State of California, including Plaintiff, t
       7
                 work through meal periods and work at least five (5) hours without a meal period ~n
       8' .
                 failing to pay such employees one (1) hour of pay at the employees' regulllr rate o
       9
                 compensation for each workday that the meal period is not provided, or other
      10
                 compensation, as required by California's state wage and hour laws, and autornaticall
      11
                 deducting a half hours pay from their wages.
      12
           8.    For at least four years prior to filing of this action and through the present, Defendant
      13
                 THERMO FISHER SCIENTIFIC, INC., and/or DOES did not have ·a policy of allowin
      14
                 its ::~ou1)y employees working shifts of ten (10) or more hours in a day to take a secon
      15
                 meal period of not less than thirty (30) minutes as required by the applicable Wage Orde
      16
                · of the IWC.
      17
           9.    For at least four years prior to the filing of this action and through to the present, Defendant
      18
      19         THERMO FISHER SCIENTIFIC, INC., and/or DOES have had a consistent policy o

      20         requiring Non-Exempt Employees within the State of ·california, including Plaintiff, t

      21         work over ten (10) hours without providing an additional, uninterrupted meal period o

      22         thirty (30) minutes and failing to pay such employees one (1) hour of pay at the employees'

      23         regular rate of compensation for each workday that the meal period is not provided, o

      24         other compensation, as required by California's state wage and hour laws.

      25 10.     For at least four years prior to the filing of this action and through to the present, Defendant

      26         THERMO FISHER SCIENTIFIC, INC., and/or DOES have had a consistent policy and/o
                                                                                        '
      27         practice of requiring its Non-Exempt Employees within the State of California, includin

      28         Plaintiff, to work for over four hours, or a major fraction thereof, without a 10 minute res


           CLASS ACTION COMPLAINT                            3
..   Case 5:17-cv-01918-DDP-SP Document 1-1 Filed 08/17/17 Page 5 of 134 Page ID #:14




                       period, and failing to pay such employees one ( l) hour of pay at the employees' regula
            2
                       rate of compensation for each workday that the rest period is not provide, or othe
            3
                       compensation, as required by California's state wage and hour laws.
            4
                11.    For at least four years prior to the filing of this action and through to the present, Defendant
            5
                       THERMO FISHER SCIENTIFIC, INC., and/or DOES and/or their officers and.lo
           6
                       managing agents ~ave had a consistent policy and/or practice of willfully failing to provid
            7
                       to Plaintiff and its Non-Exempt Employees, accurate itemized employee wage statements.
            8
                12.    For at least four years prior to the filing of this action and through to the present, Defendant
            9
                      . THE~O FISHER SCIENTIFIC, INC., .and/or DOES and/or their officers and/o
           10
                       managing agents have had a consistent policy and/or practice of willfully failing to time!
           11
                       pay wages owed to Plaintiff and those Non-Exempt Employees who left Defendant
           12
                       THERMO FISHER SCIENTIFIC, INC., and/or DOES employ or who were terminated.
           13
                13.    For at lea.st four years prior to the filing of this action and through to the present, THERM
           14
                       FISHE~ SCIENTIFIC, INC., and/or DOES, by failing to lawfully pay Plaintiff and thos
           15
                       similarly situated all the wages they are_ owed, engaged in false, unfair, fraudulent an
          16
                       deceptive busine~s practices within the meaning of the Business and Professions Cod
           17
                       section 17200, et seq.
           18
           19 14.      Throughout the statutory period, THERMO FISHER SCIENTIFIC, INC., and/or DOES

          20           employees, including Plaintiff and similarly situated Non-Exempt Employees, were no

          21           provided all straight time and overtime wages owed, meal periods and rest periods, o

          22           compensation in lieu thereof, as mandated ·under the California Labor Code, and th
                                                         "
          23           implementing rules and regulations of the Industrial Welfare Commissions ("IWC"

          24           California Wage Orders.

          25 15.       Throughout the statutory period, THERMO FISHER SCIENTIFIC, INC., and/or DOE

          26           employees, including Plaintiff and similarly situated Non-Exempt Employees were no ·

          27           provided with accurate and itemized employee wage statements.

          28 16.       THERMO FISHER SCIENTIFIC, INC., and/or DOES failed to comply with Labor Cod


                CLASS ACTION COMPLAINT                            4
                         -
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       1
                 section 226, subdivision (a), by itemizing in wage statements all hourly compensation an
       2
                 accurately reporting total hours worked by Plaintiff and the members of the proposed class.
       3
                 Plaintiff and members of the proposed class are entitled to penalties not to exceed $4,00
       4
                 for each employee pursuant to Labor Code section 226(b).
       5
           17.   THERMO FISHER SCIENTIFIC, INC., and/or DOES have failed to comply with IW
       6
                 Wage Order 9-2001(7) by failing to maintain accurate time records showing houri
       7
                 compensation, when the employee begins and ends each work day and total daily hour
       8
                 worked by itemizing in wage statements and accurately reporting total hours worked by
       9
                 Plaintiff and members of the proposed class.
      10
           18.   THERMO FISHER SCIENTIFIC, INC., and/or DOES failure to retain accurate records o
      11
                 total hours worked by Plaintiff and the proposed class was willful and deliberate, was
      12
                 continuous breach of THERMO FISHER SCIENTIFIC, INC., and/or DOES duty owed t
      13
                 Plaintiff and the prop~secl class. ·
      14
           19.   Throughout the statutory period, THERMO. FISHER SCIENTIFIC, INC., and/or DOES
      15
                 ~mployees, including Plaintiff an.d similarly .situated Non-Exempt Employees, were no
      16
                 timely paid all wages owed to them at the time of termination.
      17
           20. · Defendants THE~O FISHER SCIENTIFIC, INC., and/or DOES are and were aware tha
      18
                 Plaintiff and members of the proposed Plaintiff Class were not paid all straight time an
      19
     20          overtime wages owed, nor provided meal and rest periods. Defendants' and/or DOE

     21          denial of wages and other compensation due to Plaintiff and members of the _propose

     22          Plaintiff class was willful and deliberate.

     23 21.      Defendants THERMO FISHER SCIENTIFIC, INC., and/or DOES each and collectivel

     24,         controlled the wages, hours, and working conditions of Plaintiff and the Class he seeks t

     25          represent, creating a joint-employer relationship over Plaintiff and the Class he seeks t

     26          represent.

     27 22.      Plaintiff STEVEN DE LA CRUZ, on behalf of himself and all of THERMO FISHE

     28          SCIENTIFIC, INC., and/or DOES Non-Exempt Employees, brings this action pursuant t


           CLASS ACTION COMPLAINT.                         5
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       1
                 California Labor Code sections ~26, subd. (b), 226.7. 510, 512, 515, 558, 1194, and
       2
                 California Code of Regulations, Title 8, section 11090, seeking unpaid wages, overtime
       3
                 meal and rest period compensation, penalties, injunctive and other equitable relief, an
       4
                 reasonable. attorneys' fees and costs.
       5
           23.   Plaintiff STEVEN DE LA CRUZ, on behalf of himself and all putative Class Members o
       6
                 THERMO FISHER SCIENTIFIC, INC., and/or DOES non-exempt employees, pursuan
       7
                 to California Business and Professions Code sections 17200-17208, also seeks injunctiv
       8
                 relief, restitution, and disgorgement of all benefits THERMO FISHER SCIENTIFIC, INC.
       9
                 and/or DOES enjoyed from their failure to pay all straight time wages, overtime wages
      10
                 and meal and rest period compensation.
      11
                   I.    VENUE
      12                                        .                                 .


           24.   Venue as to each Defendant, THERMO FISHER SCIENTIFIC, INC., and/or DOES, i
      13
                 proper in this judicial district, pursuant to Code ci Civil Procedure section 395. Defendant
      14
                 ,.THERMO FISHER SCIENTIFIG, INC., and/or DOES conduct business and. commi
      l~
                                      '
                 Labor Code ·violations within:Alameda County, and each Defendant and/or DOE is withi
      16
                 California for service of process purposes. The unlawful acts alleged herein have a direc
      17
                 effect on Plaintiff and those similarly situated within the State of California and withi
      18

      19         Alameda County. Defendants THERMO FISHER SCIENTifIC, INC., and/or DOES

     20          employ numerous Class Members who work in Alameda County, in California.

     21           II.    PARTIES

     22 A.       Plaintiffs.

     23 25.      At all relevant times herein, Plaintiff STEVEN DE LA CRUZ is and was a resident o

     24          California. At all relevant times herein, he was empl9yed by Defendants THERM

     25          FISHER SCIENTIFIC, INC., and/or DOES within the last four years as a non~exempt

     26          hourly worker in California.

     27 26.      On information ·and belief, Plaintiff and all other members of the proposed Clas.
                                                                              r

     28          experienced Defendants' THERMO FISHER SCIENTIFIC, INC.,and/or DOES commo

                                                                       (

           CLASS ACTION COMPLAINT                          6
                                                                            •
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       1
,,                 company policies of failing to pay all straight tirn~ and overtime wages owed.
       2
           27.     On information and belief, Plaintiff and all other members of the prqposed
       3
                   experienced Defendants' THERMO FISHER SCIENTIFIC, INC., and/or DOES commo
     ,.4
                   company po~icies of illegally deducting wages from employees for ni.eal periods durin
       5
                   which they were perfonning work.
       6
           .28.    On inf01mation and belief, Plaintiff and all other members of the proposed Clas
       7
                   experienced Defendants' THERMO FISHER SCIENTIFIC, INC., and/or DOES commo
       8
                   policies and/or practices of failing to pay all straight time ~d overtime wages owed, an
       9                                                                     .       .                     .
                   failing to provide compliant meal periods to employees before the end of their fifth. hou
      10
                  · of work or a second meal period before the end of the tenth hour or work, or compensatio
      11
                   in lieu thereof.
      12
                                                           ·'
           29.     On information and belief, Plaintiff. ,and all other members of the proposed Clas
      13
                   exp~rienced Defendants' THERMO FISHE~ SCIENTIFIC, INC., and/or DOES commo
      14             •.                                '            '                                          I




                  · company policies of failing to provide ten ( 10) rr1inute paid rest breaks to employees who·_
      15                                                                '        (                                 '



                   worked four (4) hours c;r major fractions the1;eof.
      16
           30:·    On infom1ation and belief, Plaintiff and all other members of the proposed
      17
                   experienced Defendants' THERMO FISHER SCIENTIFIC, INC., and/or DOES commo
      18
                   company policies of failing to provide Non-Exempt Employees with accurate itemize
      19

      20           wage statements. On information and belief, Defendants and/or DOES failure to provid

      21           to their Non·Exempt Employees, including Plaintiff, with accurate itemized wag

      22           statements was willful.

      23 31.       On information and belief, Plaintiff and all other members of the proposed Clas

      24           experienced Defendants' THERMO FISHER SCIENTIFIC, INC., and/or DOES.comma

      25           company policies offailing to timely compensate Non-Exempt Employees all wages owe

      26           upon termination. On information and belief, Defendants and/or DOES failure to pay Non

      27           Exempt Employees, including Plaintiff, in a timely manner, compensation owed to the

      28           upon termination of their employment with THERMO FISHER SCIENTIFIC, INC.


           CLASS ACTION COMPLAINT                               7                        j
                                                                             -
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                      and/or DOES was willful:
       2
           32.        On infmmation and belief, Plaintiff and all other members of the proposed
       3
                      experienced Defendants THERMO FISHERSCTENTIFIC, INC., and/or DOES fraudulen
       4
                      and deceptive business practices within the meaning of the Business and Professions Cod
       5
                      section 17200, et seq.
       6
           33.    · Plaintiff and the proposed class he seeks torepresent are covered by, inter alia, Californi
       7
                      IWC Occupational Wage Order Nos. 9-1998, 9-2000, and 9-2001, and Title 8, Californi
       8
                      Code of Regulations, §11090.
       9
           B.         Defendants.
      10                                                                                          '   '
           34.        At all relevant times he:rein, THERMO FISHER SCIENTIFIC, INC., and/or DOES sell
      11
                      laboratory equipment, chemicals, supplies, and services used in healthcare, scientifi
      12
                      research, safety, and educatfon. THERMO FISHER SCIENTIFIC, INC. and/or DOES
      13                                                                                     ·,
                      have employed hourly, non-exempt employees like Plaintiff STEVEN DE LA CRU
      14
                      throughout ~he statutory liability period to ~ork in their facilities.··
      15
           35.        On information an~ belief, THERMO FISHER SCIENTIFIC, INC., and/or DOES
      16
                      exercised control over the wages, hours, and/or working conditions of Plaintiff an
      17
                      members of the proposed class throughout the liability period.
      18
           36.,       THERMO FISHER SCIENTIFIC, INC., and/or DOES,prindpal place of business is in th
      19
     20               State of California.

     21 37.           The true names and capacities, whether individual, corporate, associate, or otherwise, o

     22               Defendants DOES 1-100, inclusive, are presently unknown to Plaintiff, who therefore sue

    · 23              these Defendants by such fictitious names under Code of Civil Procedure section 474.

     24               Plaintiff is informed and believes, and based thereon alleges, that each of the Defendant

     25               designated herein as a DOE is legally responsible in some manner for the unlawful act

     26           . referred to herein. Plaintiff will seek leave of court to amend this Complaint to reflect th
                                                                                                          (


     27               true names and capacities of the Defendants designated hereinafter as' DOES when sue
                  (

     28               identities become known.

                               '   ,,
           CLASS ACTION COMPLAINT                                 8.
                                                                       •
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        1
            38.    Plaintiff is infonned and believes, and based thereon alleges, that each Defendant and/a
        2
                   DOE acted in all respects pertinent to this action as the agent of the other Defendants and/o
        3
                   DOES, carried out a joint scheme, business plan or policy in all respects pertinent hereto
        4                                                                              {


                   and the acts of each Defendants and/or DOES are legally attributable to the othe
        5
                   Defendants and/or DOES.
        6
            III.   CLASS ACTION ALLEGATIONS
        7
            39.    Plaintiff brings this action on behalf of themselves and all othe.rs similarly situated as
        8
                   class action pursuant to s~ction 382 of the California Code of Civil Procedure. Plaintif
        9
                   seeks to represent a Class composed of and defined as follows:
       10
                          All persons who are employed or :have been employed by
       11
                          Defendants in the State of California as hourly, Non-Exempt
       12
                          workers during the period ·of the relevant statute of limitations.
       13
      '
                   Plaintiff also seeks to represent a Subclass composed of and defined as follows:
       14

       15
                          All persons who are or have been emplo:ied by THERMO FISHER
       16
                          SCIENTIFIC, INC., and/or DOES in the State of California as
       17
                          hourly, Non~Exempt workers during the period of the relevant
       18

       19                 statute of limitations, who worked one or more shifts in excess of 5

      20                  hours.

      21
     , 22                 All persons who are or have been employed by THERMO FISHER

      23                  SCIENTIFIC, INC., and/or DOES in the State of California as

      24                  hourly, Non-Exempt workers during the period of the relevant

      25                  statute of limitations, who worked one or more shifts in excess of 6

      26                  hours.

      27

      28                  All persons who are or have been employed by THERMO FISHER


            CLASS ACTION COMPLAINT                           9
                       ''                                            •
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       1
                       SCIENTIFIC, INC., and/or DOES in the State of California as
       2
                       h~urly, Non-Exempt workers during the period of the relevant
       3
                       statute of limitations, who worked one or more shifts in excess of 10
       4
                       hours.
       5

       6
                       All persons who are or have been employed by THERMO FISHER
       7
                        SCIENTIFIC, INC., and/or DOES in the State of California as .
       8
                       hourly, Non-Exempt workers during the period of the relevant
       9
                        statute of limitations, who worked one or more shifts in excess of 12
      10
                       hours.
      11

      12
                        All persons who are or have been ~mplo:fed by THERMO FISHE.R
      13
                        SCIENTIFIC, INC., and/or DOES in i:he State of California a~
      14

      15
                       hourly, Non-Exempt workers duri~g the period 'of the relevant

      1,6               statute of limitations, who worked one o:r more shifts in excess of 3

      17               h~ur and one-half hours, but less than or equal to 6 hours.
      18
      19

      20               All persons who are or have been employed by THERMO FISHER

      21                SCIENTIFIC, INC., and/or DOES in the State. of California as

      22               hourly, Non-Exempt workers during the period of the relevant
      23
                        statute of limitations, who worked one o:r more shifts in excess of 6
      24
                        hours, but less than or equal to 10 hours.
      25

      26
      27               All persons who are or have been employed by THERMO FISHER
      28


            CLASS ACTION COMPLAINT                        10
                        ''                                          •
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       1·               SCIENTIFIC, INC., and/or DOES in the State of California as

       2                hourly, Non-Exempt workers during the period of the relevant

       3                statute of limitations, who worked one or more shifts in excess of 10
       4
                        hours.
       5
       6

      7                 All persons who are or have been employed by THERMO FISHER
       8
                        SCIENTIFIC, INC., and/or DOES in the State of California as
       9
                        hourly, Non-Exempt workers. during the period of the relevant
                                         ~



      10
                        statute of limitations, who separated their employment from
      11
      12                Defendant.

      13
      14
                        All persons who are or have been employed by THERMO FISHER
      15                         ,'!




                        SCIENTIFIC, INC., and/or DOES in the State of California as
      16
      17                hourly, Non-Exempt workers during the period of the relevant

      18                statute of limitations, who worked one or more shifts in which they

      19                received a wage statement for the corresponding pay period.
      20

      21

      22                All persons who are or have been.employed by THERMO FISHER
      23                SCIENTIFIC, Il'l'C., and/or DOES in the State of California as
      24                hourly, Non-Exempt workers during the period of the relevant
      25                statute of limitations, who_were deducted wages for meal periods.
      26
      27 40.     Plaintiff reserves the right under rule 1855, subdivision (b), California Rules ofCourt, t
      28


            CLASS ACTION COMPLAINT                       11
                             -                                           ••
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           .1         amend o:r modify the Class description with greater specificity or further division int
           2
                      subclasses or limitation to particular issues.
            3
                41.   This action has been brought and !llay properly be maintained as a class action under th
           4
                      provisions of section 382 of the California Code of Civil Procedure because there is a well
            5
                      defined community of interest in the litigation and the proposed ,Class is easil
           6
                      ascertainable.
            7
                A.    Numerosity.
            8
                42.   The. potential members of the Class as defined are so numerous that joinder of all th
            9
                      members of the Class is impracticable. While the precise number of Class Members ha
          10
                      not been determined at this time, Plaintiff is informed and believes that THERMO FISHE
          11
                      SCIENTIFIC, INC., and/or DOES currently employ, and during the liability, perio
          12
                      . employed,
                          ~-      over fifty ~mployees, all in the State of California, in positions
                                                                                             .
                                                                                                     as THERM
i         13                                 ,                                            '                 '




                      FISHER SCIENTIFIC, INC. hourly non-exerppt employees.
          14·
                43.   Accounting for employe~ turnover during the relevant periods increases this nwnbe
          15
                      substantially. Upon information . and belief, Plaintiff alleges THERMO FISHE
          16
                      SCIENTIFIC, INC., andJor DOES employment records would provide information as t
          17
                      the number and location of all Class Members. Joinder of all members of the propose
          18
          19          Class is not practicable.

          20 B.       Comrno111ality.

          21    44.   There are questions of law and fact common to the Class that predominate over an

          22          questions affecting only individual Class Members. These common questions of law an

          23          fact include, without limitation:

          24                           (1)   Whether THERMO FISHER SCIENTIFIC, INC., and/or
                                                                I,

          25                  DOES violated the Labor Code andJor. applicable IWC Wage Orders in

          26                  failing to pay its non-exempt_ workers all earned wages at the regular rate

          27                  for all hours worked.
         . 28                          (2) Whether THERMO FISHER SCIENTIFIC, INC., and/or DOES


                CLASS ACTION COMPLAINT                           12
                                                                   •
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       1
                       uniform policies and/or practices whereby non-exempt workers were
       2
                       pressured and/or incentivized to forego taking meal apd/or rest periods.
       3
                              (3)     . Whether THERMO FISHER SCIENTIFIC, INC., and/or
       4
                       DOES violated Labor Code section226.7; IWC Wage Order No: 9-2001 or
       5
                       other applicable IWC Wage Orders, and California Cocle of Regulations,
       6
                       Title 8, section 11090, by failing to ~uthorize, permit, and/or provide rest
       7
                       periods to its hourly, non~exempt employees for every four (4) hours or
                                                    I
       8
                       major fraction thereof worked and/or failing to pay said employees one (1)
       9
                       hour of   pay. at the employee's regular ra:te of compensation for each work
      10
                       day that the rest period was not authorized, permitted and/or provided.
      11
                              (4}      Whether THERMO FIS}IER SCIENTIFIC, INC., and/or
      12
                       DOES willfully failed to pay, in a timely manner, wages owed to members
      13
                       of the proposed Class who left THERMO FISHER SCIENTIFIC, INC.,
     · 14
                       and/or DQES ~rnpl~y or who were terminated.
      15
                              (5)      Whether THERMO FISHER SCIENTIFIC, INC., and/or
      16
                       DOES violated Labor Code section 20fwhich provides for the assessment
      17'
                       of a penalty against the employer, by willfully failing to timely pay all
      18

      19               wages owed to employees who left THERMO FISHER SCIENTIFIC, INC., . ·

      20              , and/or DOES employ or who were terminated.

      21                      (6)      Whether THERMO FISHER SCIENTIFIC, INC., and/or

      22               DOES had uniform policies and/or practices of failing to provide employees

      23               accurate and itemized wage statements.

      24                      (7)      Whether THERMO FISHER SCIENTIFIC, INC., and/or

      25               DOES had uniform policies and/or practices of failing to timely pay all

      26               wages owed to employees who left THERMO FISHER SCIENTIFIC, 'INC.,

      27               and/or DOES employ or who were terminated.

      28                      (8)      The answer to each of these respective questions will


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                                                                                              I
        1
                              generate a common answer capable of resolving class-wide liability in one
        2
                              stroke.
        3                                                   ./

             45.    Said common questions predominate over any individualized issues and/or question
        4
                    affecting only individual members.
        5
             c.     Typicality.
        6
             46.    The claims of the named Plaintiff are typical of 1:he claims of the proposed Class. Plaintif
        7
                    and all memb_ers of the proposed Class sustained injuries and damages arising out of an
        8
                    caused by THERMO FISHER SCIENTIFIC, INC.~ and/or DOES common course o
        9
                    conduct in violation of laws and regulations that have the force and effect of law an
       10'
                    statutes as alleged.
       11
             47.    Plaintiffs STEVEN DE LA CRUZ was subjected to the same uniform policies and/o
       12               '                                                                                   I



                    practices complained of herein that affected all such employees. Thus, as STEVEN DEL
       13                               '                                       ',

                    CRUZ ~vas subjected to the same unlawful policies and practices as all hourly non
       14
                    exempts, his claims are typical of the class he seeks to represent.
       15
             D.     Adequacy of Representation.
       16
             48.    Plaintiff will fairly and adequately represent and protect the interests of the members of th - ·
       17
      . 18          Class .

      19 49.        Plaintiff is ready and willing to take the time necessary to help litigate this case.

      20 50.        Plaintiff has no conflicts that will disallow her to fairly and adequately represent an

      21           _protect the interests of the members of the class.
                                                                       l

      22 51.        Counsel who represent Plaintiff are competent and experienced in litigat!ng

      23            employment class actions ..

      24 52.        Specifically, William Turley, Esq. and David Mara, Esq. are Califomia lawyers iri goo

      25            standing.

      26 53.        Mr. Turley regularly lectures lawyers on wage and hour class action issues. He has been

      27            featured speaker on many AGI Wage and Hour Class Action presentations and Consume

      28            Attorney of California Wage and Hour Class Action presentations.


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                                                                                  e.

              1
                   54.        Mr. Turley is listed as Amicus counsel on over 20 California Supreme Court decisions.
              2
                   55.        Mr. Turley is a Past President of Consumer Attorneys of San Diego and has been electe
              3
                              to the Board of Governors of the Consumer Attorneys of California for over 15 years. Mr.
          ·4
                              Turley is currently on and has been :a member of the Consumer Attorneys ofCaliforni
              5
                          1   An1icus Curie Committee for over 20 years.
              6
                  · 56.       Mr. Turley has had over 100 legal articles published, including some on California Labor
              7
                              Code.
              8
                   57.        Mr. Turley and Mr. Mara were appointed class counsel in the landmark,_California Suprem
              9
                              Court case, Brinker v. Superior Court and have been appointed. as class .counsel in man
          10
                              California wage and hour cases, in both State Court and Federal Court.
          11
                   58.        Mr. Turley and The Tu.rley Lm~ Firm, A.PLC have the resources to tak.e this case to tria
          12
                              ·and judgment; if necessary.
          13
          I


                   59.        Mr. Turley and Mr. Mara havi the 'experience,· ability, and ways and means to vigorousl
     r-   14
                              prosecute this case.
          15
                   E.          Superiority of Class Action.
          16
                   60'.       A class action is superior to other available means for the fair and efficient adjudication o
          17
                              this controversy. Individual joinder of all Class Members is not practicable, and question
          18

          19                  of law and fact common to the Class predominate over any questions affecting onl

          20                  individual members of the Class. Each member of the Class has been damaged and i'

          21                  entitled to recovery by reason of THERMO FISHER SCIENTIFIC, INC., and/or DOES

          22                  iilegal policies and/or practices offailing to pay all straight time and overtime wages owed

          23                  failing to permit or authorize rest periods, failing to provide meal periods, knowingly an

          24                  intentionally failing to comply with wage statement requirements, and failing to pay al

          25                  wages due at termination.

          26 61.          ,Class actipn treatment will allow those similarly situated persons to litigate their claims i

          27                  the manner that is most efficient and economical for the parties and the judicial system.

          28                  Plaintiff is unaware of any difficulties that are likely to be encountered in the managemen


                   CLASS ACTION COMPLAINT                               15
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.   "

                1
                           of this action that would preclude its maintenance as a class action.
               2
                    62.    Because such common questions predominate1 over any individualize? issues and/o .
               3
                          · questions affecting only individual members, class resolution is superior to other method
               4
                           for fair and efficient adjudication.
               5
                    IV.    CAUSES OF ACTION
               6
                           First Cause of Action Against THERMO FISHER SCIENTIFIC, INC.,
               7           DOES: Ji'ailure to Pay All Straight Time Wages
               ·8 63.      Plaintiff and those similarly situated Class men:tbers hereby incorporate by reference eac
               9           and every other paragraph in this Complaint herein as if fully plead.
              10 64.       Defendants and/or DOES have had a continuous policy of not paying Plaintiffs and thos
              11
                           similarly situated for all hours worked. Specifically, Defendants and/or DOES have
              12
                           continuous and consistent policy,of clocking~out Plaintiff and those similarly situated fo
                            I

              13
                           a thii1y (30) minute meal· period, even though Plaintiff and all members of the Class wor
              14                     '   '    '



                           through th~ir meal periods .
             . 15
                    65.    Thus, THERMO. FISHER SCIENTIFIC, INC., and/or DOES shave/steal earned \\'age
              16
                           from Plaintiff and each and every member of the Class each and every day they wor
              17
                           without a meal period and have time deducted.
              18
                    66.    Plaintiff and those similarly situated Class members are infom1ed and believe and thereo
              19
                           allege that THERMO FISHER SCIENTIFIC, INC., and/or DOES breached the legal dut
              20
                           to pay full wages to Plaintiff by deducting a portion of the wages earned when Plaintiff an
              21
                           the Class members' actual time records indicated that a meal period was not taken.
              22
                           THERMO FISHER SCIENTIFIC, INC., and/or DOES did not make reasonable efforts t
              23
                           determine whether the .time deducted was actually worked as reported by Plaintiff and
              24
                           Class members. THERMO FISHER SCIENTIFIC, INC., and/or DOES, without,
              25
                           reasonable basis, presumed that actual reported hours had not been accurately reported.
              26
              27
                           The conduct complained of is a form    of what is sometimes called "dinging," "shaving," o
                          . "scrubbing" and is prohibited by law. THERlv10 FISHER SCIENTIFIC, INC.·, and/o
              28


                    CLASS ACTION COMPLAINT                          16
                                                                          •
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                   DOES also failed to. pay for the overtime that was due pursuant to Labor Code 510, 515
       2                                      )


                   and 1194 and Industrial Welfare Commission Order No. 9-2001, item 3(A).
       3
           '67 .   Plaintiff and the Class members are informed and believe and thereon allege that as a direc
      .4
                   result of the systematic deductions in pay Plaintiff and.the Class members have suffered
       5
                   and continue to suffer, substantial unpaid wages, and lost interest on such wages, an
       6
                   expenses and attorneys' fees in seeking to compe:1 THERMO FISHER SCIENTIFIC, INC.
       7
                   and/or DOES to fully perfonn their obligations under state law, all to their respectiv
       8
                   damage in amounts, according to proof at trial.
       9
           68.     As a direct result of THERMO FISHER SCIENTIFIC, INC., and/or DOES policy of illega
      10
                   wage theft, Plaintiff and those similarly situated have been damaged in an amount to b
      11
                   proven at trial.
      12
           (59.    WHEREFORE, Plaintiff and the Class she seeks to represent request relief as describe
      13
                   below.
      14
      15           Second Cause of Action Against THERMO FISHER SCIENTIFIC, INC., and/o
                   DOES: Failure to Pay Overtime      , ,. : . .         .
      16                    •                                        !'

           70,     Plaintiff and those similarly situated Class members hereby incorporate by reference each
                        ,                                             ,



      17
                   and every other paragraph in this Complaint herein as if fully plead.
      18
           71. , It is fundamental that an employer must pay its employees for all time worked. Californi
      19
                   Labor Code sections 218 and 218.5 provides a right of action for nonpayment of wages.
      20
                   Labor Code section 222 prohibits the withholding of part of a wage. Labor Code sectio
      21
                   223 prohibits the pay ofless than a statutory or contractual wage scale. Labor Code sectio
      22
                   1197 prohibits the payment ofless than the minimum wage. Labor Code section 224 onl
      23
                   permits deductions from wages when the emplc-yer is required or empowered to do so b
      24
                   state or federal law or when the deduction is expressly authorized in writing by th
      25
                   employee for specified purposes that do not have the effect of reducing the agreed upo
      26
                   wage.
      27
           72.     THERMO FISHER SCIENTIFIC, INC., and/or DOES failed to pay overtime whe
      28


           CLASS ACTION COMPLAINT                           17
                                                                           •
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           1
                     employees worked over 8 hours per day and when employees worked over 40 hours pe
          2
                     .week.
          3
               73.   Plaintiff and those similarly situated Class members were employed by THERMO FISHE
          4
                     SCIENTIFIC, INC., and/or DOES at all relevant times. THERMO FISHER SCIENTIFIC
          5                       .                          '

                     INC., and/or DOES were required to compensate Plaintiff for all hours worked and we,r
          6
                     prohibited from making deductions that had the -effect of reducing the agreed upon wage.
          7
               74.   Plaintiff and those similarly situated Class members are infonned and believe and thereo
          8
                     allege that THERMO FISHER SCIENTIFIC; INC., and/or DOES breached the legal du
          9
                     to pay full wages to Plaintiffs by deducting a portion of the wages earned when Plaintiff
         10
                     and the Class Members' actual time records indicated that a meal period was not taken.
         11
                     THERMO FISHER SCIENTIFIC, INC., and/or DOES devised a computer program to edi
         12
                     the actual
                             .
                                hours reported by Plaintiff and the Class Members, deducting a portion of thI
         13
                     hours shown as worked hours when a meal period and/or rest period was not taken durin
         14                                                           <;
                     the work day. THERMO FISHER SCIENTIFIC; INC.,. and/or DOES did not mak
         15
                     reasonable efforts to determine whether the time deducted· was actuapy worked as reporte
         16
                     by Plaintiff and the Class Members. THERJ\1(O FlSHER SCIENTIFIC, INC., and/o
        . 17
                     DOES, without a reasonable basis,/ presumed that actual reported hours had not bee
         18

         19          accurately reported. The conduct complained of is a form of what is sometimes calle

         20          "dinging··, and is prohibited by law. THERMO FISHER SCIENTIFIC, INC., and/or DOES

         21          also failed to pay for the overtime that was due, pursuant to IWC Wage Order No. 9-2001

         22          item 3(A).

         23 75.      Plaintiff and the Class Members are informed and believe and thereon allege that as a direc

         24          result of the systematic deductions in pay, resulting from application of an automati

         25          computer program and overtime, Plaintiff and the Class Members have suffered, an

         26          continue to suffer, substantial unpaid wages, and lost interest on such wages, and expense

         27          and attorneys' fees in seeking to compel THERMO FISHER SCIENTIFIC, INC., and/o
    (
         28          DOES to fully perform their obligations under state law, all to their respective damage i


               CLASS ACTION COMPLAINT                            18
                                                                       •
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       1
                 amounts according to proof at time of trial. THERMO FISHER SCIENTIFIC, INC., and/o
       2
                 DOES committed the acts alleged herein knowingly and willfully, with the wrongful an
       3
                 deliberate intention on injuring Plaintiff and the Class Members. THERMO FISHE
       4
                 SCIENTIFIC, INC., and/or DOES acted with mal:ice or in conscious disregard of Plaintiff
       5
                 and the Class Member's rights. In addition to compensation, Plaintiff is also entitled to any
                                             r
       6
                 penalties allowed by law.
       7
           76.   WHEREFORE, Plaintiff and the _Class she seeks to represent request relief as describe
       8
                 below.
       9
                 Third Cause of Action Against THERMO FISHER SCIENTIFIC, INC.~ and/o
      10
                 DOES: Failure to Provide Meal Periods, or Compensation in Lieu Thereof (Lab
      11         Code §§ 226.7, 512, IWC Wage Order Nos. 9-1998, 9-2000, 9-2001(n); Cal. Cod
                 Regs.; t.it. 8, § 11090)
      12
           77.   Plaintiff and those similarly situated Class members hereby-incorporate by reference eac
      13
                 and every other paragraph in this Complaint herein as if fully plead.
      14
           78.   Under Calif~~niCl Labor Code section 512 and IWC Wage Order No. 9, no empioyer· shall
      15
                 -employ anyper~ou-for a work period of more than five (5) hours without providing a mea
      16
                 period of not less than thirty. (30) minutes. During this meal periods of no·t le.ss than thirt
      17
                 (30) minutes, the employee is to be completely free of the employer's control and must no
      18
                 perform any work for the employer. If the employee does perfonn work for the employe
      19
                 during the thirty (30) minute meal period, the ,employee has not been provided a mea
      20                  '                                                               .

                 period in accordance with the law. Also, the employee is to be compensated for any wor
     -21
                 performed during the thirty (30) minute meal period.
      22
           79.   In addition, an employer may not employ an employee for a work period of more than ten
      23
                 (10) hours per day without providing the employ~e with another meal period of less tha
      24
                 thirty (30) minutes.
      25
      26 80.     Under California Labor Code section 226. 7, if the employer does not provide an emp~oye

      27         a meal p1;riod in accordance with the above n:quirements, the employer shall pay th

      28         employee one (1) hour of pay at the employee''s regular rate of compensation for eac



           CLASS ACTION COMPLAINT
                                                                               •
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       ·1
                        workday that the meal period is not provided.
       2
            81.         THERMO FISHER SCIENTIFIC, INC., and/or DOES failed to·provide thirty (30) minute
       3
                        uninterrupted meal periods to its Non-Exempt Employees who worked for work periods o
       4
                        more than five (5) consecutive hours. As such, THERMO FISHER SCIENTIFIC, INC.
       5
                        and/or DOES non-exempt employees were required to work well over five (5) consecutiv
       6
                        hours at a time without being provided a thirty (30) minute uninterrupted meal perio
       7
                  \     within that time.
       8
            82.         THERMO FISHER SCIENTIFIC, INC., and/or DOES failed to provide thirty (30) minute,
       9
                      · . uninterrupted meal periods to its Non-Exempt Employees for every five (5) continuou
      10
                        hours worked.
      11
            83.         THERMO FISHER SCIENTIFIC, INC., and/or DOES business model was such that Non
      12
                        .Exempt Employees were assigned too much work and with insufficient help due to chroni
      13
                        understaffing to be able to take meal periods'. Thus, Plaintiff and the class would not b
     }4
                        able to take meal periods despite the fact that Defendant and or DOES clocked out Plaintif
      15
                        as if they did take 30-minutemeal periods.
      16
            84.         Throughout the statutory period, THERMO FISHER SCIENTIFIC, INC., and/or DOES
      17
                        had a pattern and practice of assigning too much work to be completed in too short of tim
      18
                        frames, resulting in Plaintiff and those similarly situated not being able to take meal
      19

      20                periods.

      21 85.            THERMO FISHER SCIENTIFIC, INC., and/or DOES would not permit Plaintiff and th

      22               · class to take 30-minute meal periods unless specifically scheduled to or expressly told t

      23                by Defendant and/or DOES. This routinely resulted in Plaintiffs and the class members no

      24                being able to take a meal period, if at all, until after the fifth hour.

      25 86.            THERMO FISHER SCIENTIFIC, INC., and/or DOES did not have a policy ofprovidin

      26                a second meal period before the end of the tenth hour.

      27 87.            Failing to provide compensation for such unprovided or improperly provided meal periods

      28                as alleged above, THERMO FISHER SCIENTIFIC, INC., and/or DOES willfully violate


            CLASS ACTION COMPLAINT                                  20
                                                                          •
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                      the provisions of Labor Code sections 226.7, 512, and IWC Wage Order No. 9.
            2
                88.   As a result of the unlawful acts of THERMO FISHER SCIENTIFIC, INC., and/or DOES
'-          3
                      Plaintiff and the Class he seeks to represent have been deprived of premium wages, i
            4
                      amounts to be determined at trial, and are entitled to recovery of such amounts, plusinteres
            5
                      and penalties thereon, attorneys' fees and costs, pursuant to Labor Code sections 226
            6
                      226.7, and IWC Wage Order Nos. 9-1998, 9-2000, 9-2001. Plaintiff and the Class he seek
            7
                      to represent did not willfully waive their right to take meal periods through mutual consen
            8
                      with THERMO FISHER SCIENTIFIC, INC., and/or DOES.
            9
                89.   WHEREFORE, Plaintiff and .the Class she seeks to represent request relief as describe
           10
                      below.
           11
                      Fourth Cause of Action Against THERMO FISHER SCIENTIFIC, INC., and/o
           12
                      DOES: :Failure to At1.thorize and Permit Rest :Periods (Lab. Code§ 226.7; IWC Wag
           13         Order Nos. 9-1998, 9~2000, 9-2001(12); Cal. Code Regs. Title 8 § 11090)

           14 90.     Plaintiff and those similarly situated Class members her.eby incorporate by reference eac

           15         and every other paragraph in this Coniplaint herein, as if fully pleal .

           16 91.     THERMO FISHER SCIENTIFIC, INC., and/or DOES failed to authorize and permit Non

           17         Exempt Employees to take ten (10) minute rest periods every four (4) hours worked,
                                                                                                      I
                                                                                                         or

           f8         major fraction thereof.
      r                                                             I
           19 92.     THERMO FISHER SCIENTIFIC, INC., and/or DOES failed to provide ten (10) minut

           20         paid rest breaks to Non-Exempt Employees for each four (4) hours worked, or majo
           21         fraction thereof.
           22 93.     In the alternative, THERMO FISHER SCIENTIFIC, INC., and/or DOES business mode
           23         was such that Non-Exempt Employees were assigned too much work with insufficient hel
           24         due to chronic understaffing whereby Plaintiff and the class had to work through their res
           25         periods.
           26 94.     Throughciut the statutory period, THERMO FISHER SCIENTIFIC, INC., and/or DOES
           27         had a pattern and practice of assigning too much work to be completed in too short of tim
           28


                CLASS ACTION COMPLAINT                         21
                                                                        •
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                  frames, resulting in Plaintiff and those similarly situated not being able to take rest periods.
       2
           95.    WHEREFORE, Plaintiff and the Class he seeks to repr~sent request relief as describe
       3
                  below.
       4
                  Fifth Cause of Action Against THERMO FISHER SCIENTIFIC, INC., and/o
       5          DOES: Knowing and Intentional Failure to Comply with Itemized Employee Wag
                  Statement Provisions ab. Code    226 1174 1175· IWC Wa e Order No. 4· Cal
       6
                  Code Regs. 2 Title 82 § 11040)
       7 96.      Plaintiff and those similarly situated Class members hereby incorporate by reference eac
       8          and every other paragraph in this Complaint herdn as if fully plead.
       9
           97.    Labor Code section 226 subdivision (a) requires Defendants and/or DOES to, inter alia,'t
      IO
                  itemize in wage statements and to accurately report the total hours worked and total wage
      II
                  earned. THERMO FISHER SCIENTIFIC, INC., and/or DOES have ·knowingly an )


      12
                  intentionally failed to comply with Labor Code section 226, subdivision (a), on each an
      13
                  every wage .s,tateme1i.t 'provided to Plaintiff STE"VEN DE ,LA CRUZ and members of th ·
      14
                  proposed Cl~ss.
      15                     ,.                                                 '                                    \

           98.    Labor Code section 1174 requires THERMO FISHER SCIENTiFIC, INC., and/or DOE
      I~                          '
                  to maintain an,d preserve, in a centralized location, records showing the daily hours worke
      17
                  by and the wages paid to its employees. THERMO FISHER SCIENTIFIC, INC., and/or
      18
                  DOES have knowingly and intentionally failed to comply with Labor Code section 1174.
      19
                  The failure of THERMO FISHER SCIENTIFIC, INC., and/or DOES, and each of them, t
      20
                  comply with Labor Code section 1174 is unlawful pursuant to Labor Code section 1175.
      21
           99.    THERMO FISHER SCIENTIFIC, INC ..1 and/or DOES failed to maintain accurate tim
      22
                  records - as required by IWC Wage Order Nos. 9-2001(7), 9-2000(7), 9-1998(7) and Cal.
      23
                  Code Regs., Title 8 section 11090 - showing, among other things, when the employe
      24
                 · begins and ends each work period, the total daily hours worked in itemized wag
      25
                  statements, .total wages, bonuses and/or incentives earned, and all deductions made.
      26
      27 100. . As a direct result of THERMO FISHER SCIENTIFIC, INC., and/or DOES unlawful acts,

      28          Plaintiffs and the class they intend to represent have been damaged and are entitled t



           CLASS ACTION COMPLAINT                            22
                                                                                •
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              1
                           recovery of such amounts, plus interest thereon, attorneys' fees, and costs, pursuant t
              2
                           Labor Code section 226.
              3
                   101.    WHEREFORE, Plaintiffs and the Class they seek to reptesent request relief as describe
              4
                           below.
              5
                           Sixth Cause of Action Against THERMO FISHER SCIENTIFIC, INC., and/o
              6            DOES: lFaHure to Pay All Wages Due at the Time of Termination from Employmen
                           (Lab. Code§§ 201-203)
              7
                   102.    Plaintiff and those similarly situated Class members hereby incorporate by reference eac
              8
                           and every other paragraph in this Complaint herein as if fully plead.
              9
                   103.    Plaintiff STEVEN DE LA CRUZ terminated his employment with THERMO FISHE
             IO
             11
                           SCIENTIFIC, JNC., and/or DOES.

             12 104.       Whether Plaintiff STEVEN DE LA CRUZ voluntarily or involuntarily terminated hi

            . 13           employment with THERMO FISHER SCIENTIFIC, JNC., and/or DOES, Defendant
   ,,   '                  and/or DOES did not timely pay him straight time wages,· overtj1;e wages, meal period
             14

             15            premiums, and/or rest period premiums, owe.d at the time'°ofhis termination ..

             16 105.       Numerous members. of the Class are no longer employed by THERMO FI SHE

             17            SCIENTIFIC, INC., and/or DOES. They were either fired or quit THERMO FISHE

             18            SCIENTIFIC, INC., and/or DO~S employ. THERMO FISHER SCIENTIFIC; INC.

             19            and/or DOES did not pay all timely wages owed at the time of their termination.

             20 106.       Labor Code section 203 provides that, if an employer willfully fails to pay, withou
             21           .abatement or reduction, in accordance with Labor Code sections 201,201.5, 202 and 205.5,
             22            any wages of an employee who is discharged or who quits, the wages of the employee shal
             23            continue. at the same rate, for up to thirty (30) de,ys from the due date thereof, until paid o
             24           . until an action therefore is commenced.
             25 107. .THERMO FISHER SCIENTIFIC, INC., and/or DOES failed to pay Plaintiff STEVEN D •

             26            LA CRUZ a sum certain at the time ofhis termination or within seventy-two (72) hours o
             27            his resignation, and have failed to pay those sums for thirty (30) days thereafter. Pursuan
             is

                   CLASS ACTION COMPLAINT                             23
                                                                        •
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        1
                    to the provisions of Labor Code section 203, Plaintiff STEVEN DE LA CRUZ is entitle
        2
                    to a penalty in the amount of his daily wage, multiplied by thirty (30) days.
        3
             108.   When Plaintiff and those members of the Class who are former employees of THERM
        4
                    FISHER SCIENTIFIC, INC., and/or DOES separated from THERMO FISHf
        5
                    SCIENTIFIC, INC., and/or DOES employ, Defendants and/or DOES willfully failed t
        6
                    pay all straight time wages, overtime wages, meal period premiums, and/or rest perio
       '7
                    premiums owed at the time of termination.
        8
             109.   THERMO FISHER SCIENTIFIC, INC., and/or DOES failure to pay said wages to Plaintif
        9
                    STEVEN DE LA CRUZ and members ·of the Class he seeks to represent, was willful i
      10
                    that THERMO FISHER SCIENTIFIC, INC., and/or DOES and each ofthem knew th
      11
                    wages to be due, but failed· to pay them.
      · 12
             110.   As· a consequence of THERMO FISHER SCIENTIFIC, INC., and/or DOES willfu
      13
                    conduct in not paying wages owed at the time of separation from employment, Plaintif
                        ~                                                                 .


                    STEVEN DE LA CRUZ and members of the proposed Class are entitled to thirty (30) day
      ·15
                    worth of wages as a penalty under Labor Code section 203, together with 'interest thereo
      16
                    and attorneys' fees and costs.
      17
       18 llL       WHEREFORE, Plaintiff and th~ Class he seeks to represent request relief as described

      19            below.

      20            Seventh Cause of Action 'Against THERMO FISHER SCIENTIFIC, INC., and/o
                    DOES: Violation of Unfair Competition Law California Bus. & Prof. Code 17200
      21            et seq.)
              ')

      22 112.       Plaintiffs and those-similarly situated Class members hereby incorporate by reference eac
      23            and every other paragraph in this Complaint herein as if fully plead.

      24 113.       THERMO Fl SHER SCIENTIFIC, INC., and/or DOES failure to pay all straight time an
                                  1




      25            overtime wages earned, failure to provide compliant meal and/or rest breaks and/o
      26            compensation in lieu thereof, failure to itemize and keep accurate records, failure to pay al
      27            wages due at time of tennination, as alleged herein, constitutes unlawful activity prohi bite
      28


             CLASS ACTION COMPLAINT                             24
                                                                          •
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                     by California Business and Professions Code section 17200, et seq.
       2
            ·114.    The actions' of THERivfO
                                     I
                                              FISHER SCIENTIF][C, INC., and/or DOES in failing to pa
       3
                     Plaintiff and members of the proposed Class in a lawful manner, as alleged herein,
       4
                    · constitutes false, unfair, fraudulent and deceptive business practices, within the meanin
       5                           I
                     of Cal[fornia Business and Professions Code section 17200, et seq.
       6
            115.     Plaintiff is entitled to an injunction and other equitable relief against such unlawfu
       7
                     practices in order to prevent future damage, for which there is no adequate remedy at law
       8
                     and to avoid a multiplicity of lawsuits. Plaint:tff brings this cause individually and a
       9
                     members of the general public actually hanned and as a.representative of all others subjec
                                       .                                                        (
      10
                     to THERMO FISHER SCIENTIFIC, INC.,.and/or DOES unlawful acts and practices.
      1.1
            116.     As a' result of their unlawful acts, THERMO
                                                             .
                                                                 FISHER SCIENTIFIC, INC., and/or DOES
      12                    .



                     have reaped and continue to reap unfair benefits a.t the expense of Plaintiff. and the propose
      13                                                                                                    , ..



                     Class he seeks to represent.THERMO FISHER SCIENTIFIC, INC., and/or DOES shoul
      14
                     be enjoined from this activity and made to di:;gorge, these ill-gotten gains and restor
      15
                     Plaintiff and the members of the proposed Class puisu_ant to Busin~ss and Professibns Cod
      16
                     section 17203. Plaintiff is informed and believes, and thereon alleges, that Defendant
      17
                     and/or DOES are unjustly enriched through their policy of not all wages owed to Plaintif ·
      18

      19             and members of the proposed class ..

      20 117.        Plaintiff i:s info1med and believes,. and thereon alleges, that Plaintiff and members of th

      21             proposed class are prejudiced THER1v1O FISHER SCIENTIFIC, INC., and/or DOES

      22             unfair trade practices.

      23 118.        As a direct and proximate result of the unfair business practices of THERMO FISHE

      24             SCIENTIFIC, INC., and/or DOES, and each of them, Plaintiff, individually and on behal
                                       .                                          '                              ,-
      25             of all employees similarly situated, are entitled to equitable and injunctive relief, includin

      26            full restitution and/or disgorgement of all wages and premium pay which have bee

      27             unlawfully withheld from Plaintiff and member!, of the proposed Class as a result of th

      28            business acts and practices described herein and enjoining THERMO FISHE


            CLASS ACTION COMPLAfNT                             25
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       1
                      SCIENTIFIC, INC., and/or DOES from engagirng in the practices described herein.
       2
              119.    The illegal conduct alleged herein is continuing, and there is no indication that THERM
       3
                      FISHER SCIENTIFIC, INC., and/or DOES will cease and desist from such activity in th
       4
                      future. Plaintiff alleges that if THERMO FISHER SCIENTIFIC, INC., and/or DOES ar
       5
                      not enjoined from the conduct ,set forth in this Complaint, they will con~inue the unlawful
       6
                      activity discussed herein.
       7
              120.   ·Plaintiff further requests that the Corni issue a preliminary and permanent injunctio
       8
                      prohibiting THERMO FISHER SCIENTIFIC, INC., and/or DOES from continuing t~ no
       9
                     .pay Plaintiff and the members of the proposed Class overtime wages as discussed herein.
      10
              121.    WHEREFORE, Plaintiff and the. Class he seeks to represent request relief as describe
      11
                     · below.
      1,2
             .v.      PRAYER FOR RELIEF·
      13
            . WHEREFORE, Plaintiff prays foi' judgment as follows:
      14
                                                                '·                                           r
                      1.        That the Court determine· that this action may be maintained as a class action;
      15                                                                            ',,
                      2.        For compensatory damages; in an amount according to proof at trial, with interes
      16
                                thereon;
      17
      18 ,            3.        For economic and/or special damages in an amount according to proof with inieres

      19                        thereon;

      20              4.        For unpaid straight time and overtime wages, in an amount according to proof a

      21                        trial, with interest thereon;

      22              5.        For compensation for all time worked;

      23              6.        For compensation for not being provided paid rest breaks;

      24              7.        For compensation for not being provided paid meal periods;

      25              8.        For damages and/or monies owed for failure to compiy with itemized employe

      26                        wage statement provisions;

      27              9.        For all waiting time penalties owed;

      28              10.       That Defendants be found to have engaged in unfair competition in violation o


             CLASS ACTION COMPLAINT                                  26
                                                                        •
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                         sections 17200 et seq. of the California Business and Professions Code;
       2
                  11.    That Defendants be ordered and enjoined
                                                            )
                                                                 to make. restitution to the Class due t
       3
                         their unfair competition, including disgorgement of their wrongfully ·withhel
       4
                         wages pursuant to Calffornia Business and Professions Code sections 17203 an
       5
                         17204;
       6
                  12.    That an order of specific performance of all penalties owed be issued unde
       7                      )




       '
                         Business and Professions Code sections 17202;
       8
                  13.    That Defendants be enjoined from continuing the illegal course of conduct, allege
       9
                         herein;
      10
                  14.    That Defendants further be enjoined to cease and desist from unfair competition i
      11
                         violation of section 17200 et seq. of the Cal(fornia Business and_Professions Code·
      12
                  15.    That Defendants be enjoined from further acts of restraint of trade or unfai . ·
      13
                         competition;
      14
                 . 16.   For attorneys' fees;
      15
                  17.    For interest accrued to date;
      16
                  18.    For costs of suit and expenses incuJTedherein; and
      17
                  19. · · For any such other and further relief as the Court deems just and proper.
      18

      19
     · 20 Dated: March 6, 2017                           THE TURLEY & MARA LAW FIRM, APLC

      21                                                   . 0!L/ .
      22                                                      r
                                                              1/
                                                         Wil fam Turley, Esq.
      23                                                 Dave Mara, Esq.
                                                         Jill Vecchi, Esq.
      24                                                 Representing Plaintiff STEVEN DE LA CRUZ
      25                                                 on behalf of himself, all others similarly situated,
                                                         and on behalf of the general public.
      26,

      27
      28
                                                                  I

            CLASS ACTION COMPLAINT                           27
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   1   TO PLAINTIFF STEVEN DE LA CRUZ, AND PLAINTIFF’S ATTORNEYS OF RECORD,
   2   WILLIAM TURLEY, DAVID MARA, JILL VECCHI, AND THE TURLEY & MARA LAW
   3   FIRM, APLC:
   4           Defendant THERMO FISHER SCIENTIFIC INC. (“Defendant” or “Thermo Fisher”),
   5   hereby answers the unverified Class Action Complaint (“Complaint”) of Plaintiff Steven De La
   6   Cruz (“Plaintiff”) as follows:
   7             1.      Pursuant to Section 431.30(d) of the California Code of Civil Procedure, Thermo
   8   Fisher denies, generally and specifically, each and every allegation in Plaintiff’s Complaint.
   9             2.      Thermo Fisher further denies, generally and specifically, that Plaintiff is entitled
  10   to the relief requested, or that Plaintiff has been or will be damaged in any sum, or at all, by
  11   reason of any act or omission on the part of Thermo Fisher, or any of their past or present agents,
  12   representatives, or employees.
  13             3.      Thermo Fisher further denies, generally and specifically, that Plaintiff or the
  14   class, including subclasses, they propose (the “Proposed Class”), the existence of which Thermo
  15   Fisher denies, have been or will be damaged in any sum, or at all, by reason of any act or
  16   omission on the part of Thermo Fisher, or any of their past or present agents, representatives, or
  17   employees, and denies further that Plaintiff is entitled to the relief he seeks, or any relief.
  18           Without admitting any facts alleged by Plaintiff, Thermo Fisher also pleads the following
  19   separate and affirmative defenses to the Complaint:
  20

  21                                       AFFIRMATIVE DEFENSES
  22

  23                          FIRST SEPARATE AND AFFIRMATIVE DEFENSE
  24
               1.        The Complaint, and each of its causes of action, fails to state facts sufficient to
  25
       constitute a cause of action.
  26

  27

  28
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               DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED CLASS ACTION COMPLAINT
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   1                         SECOND SEPARATE AND AFFIRMATIVE DEFENSE
   2
                   2.     The Complaint, and each of its causes of action, is barred to the extent that venue
   3
       is improper.
   4
                              THIRD SEPARATE AND AFFIRMATIVE DEFENSE
   5

   6             3.     The Complaint, and each of its causes of action, is barred in whole or in part by all

   7   applicable statutes of limitation, including but not limited to California Code of Civil Procedure

   8   sections 338 and 340, and California Business and Professions Code section 17208.

   9                         FOURTH SEPARATE AND AFFIRMATIVE DEFENSE

  10                    4.     Plaintiff lacks standing to sue Thermo Fisher on behalf of himself or the
  11   Proposed Class with respect to at least some of the claimed injuries.
  12                          FIFTH SEPARATE AND AFFIRMATIVE DEFENSE
  13
                   5.     The Complaint, and each of its causes of action, is barred by the doctrine of
  14
       laches.
  15
                              SIXTH SEPARATE AND AFFIRMATIVE DEFENSE
  16
                   6.     Plaintiff waived the right, if any, to pursue the Complaint, and each of its causes
  17
       of action, by reason of Plaintiff’s own actions and course of conduct.
  18

  19                         SEVENTH SEPARATE AND AFFIRMATIVE DEFENSE

  20               7.     The Complaint, and each of its causes of action, is barred by the doctrine of
  21   unclean hands.
  22
                             EIGHTH SEPARATE AND AFFIRMATIVE DEFENSE
  23
                   8.     The Complaint, and each of its causes of action, or parts thereof, is barred by the
  24
       doctrine of accord and satisfaction.
  25

  26

  27

  28
                                                          -2-
                 DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED CLASS ACTION COMPLAINT
Case 5:17-cv-01918-DDP-SP Document 1-1 Filed 08/17/17 Page 65 of 134 Page ID #:74



   1                        NINTH SEPARATE AND AFFIRMATIVE DEFENSE
   2
                9.      The Complaint, and each of its causes of action, is barred to the extent that prior
   3
       settlement agreements and/or releases cover all or some of the claims alleged in the Complaint
   4
       with respect to some or all the Proposed Class.
   5
                            TENTH SEPARATE AND AFFIRMATIVE DEFENSE
   6
              10.     The Complaint, and each of its causes of action, is barred by the doctrines of res
   7
       judicata and/or collateral estoppel, to the extent that Plaintiff and/or any alleged member of the
   8
       Proposed Class have already litigated the claims that are the subject of the Complaint, or have
   9
       been covered by other litigation that was pursued on their behalf.
  10
                          ELEVENTH SEPARATE AND AFFIRMATIVE DEFENSE
  11

  12            11.     The Complaint, and each of its causes of action, is barred because Plaintiff and

  13   any alleged member of the Proposed Class did not satisfy and/or breached their statutory

  14   obligations as provided in the California Labor Code including, but not limited to, sections 2854

  15   and 2856-2859.

  16                      TWELFTH SEPARATE AND AFFIRMATIVE DEFENSE

  17            12.     The Complaint, and each of its causes of action, is barred because at all times
  18   relevant to the Complaint, Thermo Fisher did not willfully or otherwise fail to comply with any
  19   provisions of the California Labor Code or California Industrial Welfare Commission Wage
  20   Orders but rather, acted based on its good faith belief that its acts or omissions were lawful.
  21
                        THIRTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
  22
                13.     The Complaint, and each of its causes of action, is barred because Plaintiff and
  23
       the Proposed Class were provided, authorized and/or permitted rest or meal breaks in accordance
  24
       with the law, and any failure by Plaintiff, or any member of the Proposed Class, to take a meal or
  25
       rest period was because they freely waived any and all meal or rest breaks that they did not take.
  26

  27

  28
                                                         -3-
               DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED CLASS ACTION COMPLAINT
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   1                      FOURTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
   2          14.       The Complaint, and each of its causes of action, is barred because some of the
   3   hours Plaintiff and the Proposed Class allegedly worked are not “hours worked” within the
   4   meaning of applicable law.
   5                       FIFTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
   6          15.       The fifth cause of action is barred on the grounds that there was no “knowing and
   7   intentional failure” on the part of Thermo Fisher to comply with California Labor Code section
   8   226, nor did Plaintiff or any member of the Proposed Class suffer injury as a result of any alleged
   9   knowing and intentional failure within the meaning of California Labor Code section 226(e).
  10                       SIXTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
  11          16.       The sixth cause of action is barred because any failure to pay wages was not
  12   willful within the meaning of California Labor Code section 203.
  13                     SEVENTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
  14          17.       The seventh cause of action is barred because Plaintiff, as a private litigant, lacks
  15   standing to bring a cause of action for damages under California Business and Professions Code
  16   section 17203.
  17                      EIGHTEENTH SEPARATE AND AFFIRMATIVE DEFENSE
  18          18.       The seventh cause of action is barred because Plaintiff cannot show an injury to
  19   competition, as distinguished from injury to Plaintiff, which such injury Thermo Fisher denies.
  20                      NINETEENTH SEPARATE AND AFFIRMATIVE DEFENSE
  21          19.       The seventh cause of action is barred because Plaintiff cannot show a deception
  22   upon the public.
  23                       TWENTIETH SEPARATE AND AFFIRMATIVE DEFENSE
  24          20.       The seventh cause of action is barred because Plaintiff is not seeking recovery of a
  25   quantifiable sum.
  26

  27

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                                                           -4-
               DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED CLASS ACTION COMPLAINT
Case 5:17-cv-01918-DDP-SP Document 1-1 Filed 08/17/17 Page 67 of 134 Page ID #:76



   1                   TWENTY-FIRST SEPARATE AND AFFIRMATIVE DEFENSE
   2          21.     The seventh cause of action is barred because California Business and Professions
   3   Code section 17200 et seq., as stated and as sought to be applied, violate Thermo Fisher’s rights
   4   under the United States Constitution and the California Constitution in that, among other things,
   5   they are void for vagueness, violative of equal protection, violative of due process, an undue
   6   burden upon interstate commerce, and violative of the freedom of contract. It also violates
   7   Thermo Fisher’s rights to due process under the United States Constitution and the California
   8   Constitution to the extent that the cause of action does not afford Thermo Fisher the protections
   9   against multiple suits and duplicative liability.
  10                  TWENTY-SECOND SEPARATE AND AFFIRMATIVE DEFENSE
  11          22.     The seventh cause of action is barred because the remedies under California
  12   Business and Professions Code section 17200 et seq. is limited to restitution and injunctive relief.
  13                   TWENTY-THIRD SEPARATE AND AFFIRMATIVE DEFENSE
  14
                23.     The Complaint, and each of its causes of action, is barred because if Thermo
  15
       Fisher ever owed any obligation to Plaintiff and/or the Proposed Class, that obligation has been
  16
       paid and otherwise satisfied.
  17
                      TWENTY-FOURTH SEPARATE AND AFFIRMATIVE DEFENSE
  18

  19            24.     The Complaint, and each of its causes of action, is barred in whole or in part

  20   because Plaintiff unreasonably delayed in notifying Thermo Fisher of the alleged actionable

  21   wrongs, and by reason of Plaintiff’s unreasonable delay, Thermo Fisher has been prejudiced.

  22                   TWENTY-FIFTH SEPARATE AND AFFIRMATIVE DEFENSE
  23
                25.     The Complaint and any damages therefrom, must be set off by the amount
  24
       Plaintiff and/or the Proposed Class members were overpaid.
  25
                       TWENTY-SIXTH SEPARATE AND AFFIRMATIVE DEFENSE
  26

  27            26.   While Thermo Fisher denies that any liability or wrongdoing for the claims

  28   asserted in the Plaintiff’s Complaint, in the event that it should be determined that Thermo Fisher
                                                           -5-
               DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED CLASS ACTION COMPLAINT
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   1   did violate one or more provisions of the California Labor Code, then neither Plaintiff nor the
   2   Proposed Class are entitled to any damages, penalties, or other relief because such violation(s)
   3   were de minimis.
   4
                     TWENTY-SEVENTH SEPARATE AND AFFIRMATIVE DEFENSE
   5
               27.     The Complaint and each of its causes of action is barred in whole or in part to the
   6
       extent it seeks double recovery for the same alleged wrong or wrongs.
   7
                      TWENTY-EIGHTH SEPARATE AND AFFIRMATIVE DEFENSE
   8
               28.     Plaintiff may not recover damages in this action because, under the circumstances
   9
       presented, an award of damages would constitute unjust enrichment.
  10
                       TWENTY-NINTH SEPARATE AND AFFIRMATIVE DEFENSE
  11
               29.     Plaintiff’s request for class certification should be denied because the matters
  12
       alleged in the Complaint are those in which individual questions predominate over common
  13
       questions, rendering this action unsuitable for class treatment.
  14
                          THIRTIETH SEPARATE AND AFFIRMATIVE DEFENSE
  15
               30.     Plaintiff’s request for class certification should be denied because Plaintiff cannot
  16
       satisfy the prerequisites for class certification, including, but not limited to, establishing that a
  17
       well-defined community of interest exists among the Proposed Class.
  18
                        THIRTY-FIRST SEPARATE AND AFFIRMATIVE DEFENSE
  19
               31.     Plaintiff’s request for class certification should be denied because class
  20
       certification would be inappropriate due to conflicts of interest between Plaintiff and the Proposed
  21
       Class, and/or among the Proposed Class.
  22
                       THIRTY-SECOND SEPARATE AND AFFIRMATIVE DEFENSE
  23
               32.     Plaintiff’s request for class certification should be denied because Plaintiff is not
  24
       an adequate representative of persons he purports to represent.
  25

  26

  27

  28
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               DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED CLASS ACTION COMPLAINT
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   1                   THIRTY-THIRD SEPARATE AND AFFIRMATIVE DEFENSE
   2          33.     Plaintiff’s request for class certification should be denied because Plaintiff cannot
   3   show that class treatment of the claims alleged in the Complaint is superior to other methods of
   4   adjudicating the alleged controversy.
   5                  THIRTY-FOURTH SEPARATE AND AFFIRMATIVE DEFENSE
   6          34.     Plaintiff’s request for class certification should be denied because liability and/or
   7   damages, if any, to any member of the Proposed Class may not be determined by a single
   8   factfinder or on a group-wide basis, and therefore allowing this action to proceed as a class action
   9   would violate Thermo Fisher’s rights to due process and trial by jury.
  10                    THIRTY-FIFTH SEPARATE AND AFFIRMATIVE DEFENSE
  11          35.     In the event that a class should be certified in this matter, Thermo Fisher
  12   incorporates by reference and realleges all of its defenses to Plaintiff’s individual claims in
  13   response to Plaintiff’s claims on behalf of the Proposed Class.
  14                    THIRTY-SIXTH SEPARATE AND AFFIRMATIVE DEFENSE
  15
                36.     Thermo Fisher currently has insufficient knowledge or information on which it
  16
       may form a belief as to whether it may have additional, as yet unstated, affirmative defenses
  17
       available. Thermo Fisher hereby reserves the right to assert additional defenses in the event that
  18
       discovery reveals that they would be appropriate.
  19
              WHEREFORE, Thermo Fisher prays for judgment as follows:
  20
                1.    That Plaintiff’s request to bring this action as a class action be denied;
  21
                2.    That Plaintiff take nothing by reason of the Complaint, that the Complaint be
  22
       dismissed in its entirety with prejudice, and that judgment be entered for Thermo Fisher;
  23
       //
  24
       //
  25
       //
  26

  27

  28
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               DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED CLASS ACTION COMPLAINT
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   1            3.        That Thermo Fisher be awarded its reasonable costs and attorneys’ fees; and
   2            4.        That Thermo Fisher be awarded such other and further relief as the Court deems
   3   just and proper.
   4
       Dated: August 16, 2017                         GRUBE BROWN & GEIDT LLP
   5

   6
                                                      By:
   7                                                                ELIZABETH A. BROWN
   8                                                  Attorneys for Defendant
                                                      THERMO FISHER SCIENTIFIC INC.
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               DEFENDANT’S ANSWER TO PLAINTIFF’S UNVERIFIED CLASS ACTION COMPLAINT
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   1   TO THE CLERK OF THIS COURT, PLAINTIFF STEVEN DE LA CRUZ, AND PLAINTIFF’S
   2   ATTORNEYS OF RECORD, WILLIAM TURLEY, DAVID MARA, JILL VECCHI, AND THE
   3   TURLEY & MARA LAW FIRM, APLC:
   4          PLEASE TAKE NOTICE THAT on October 24, 2017, at 3:00 p.m., in Department 30 of
   5   this Court, located at 1225 Fallon Street, Oakland, CA 94612, Defendant Thermo Fisher
   6   Scientific Inc. (“Thermo Fisher”) will move the Court, pursuant to California Code of Civil
   7   Procedure sections 396b and 397(a), for an order transferring this action to the Superior Court of
   8   San Diego County, the county of Thermo Fisher’s residence for venue purposes, on the ground
   9   that this is not that proper court for trial of this action under California Code of Civil Procedure
  10   section 395.5. Specifically:
  11         Plaintiff did not contract with Thermo Fisher in Alameda County;
  12         Plaintiff did not perform any contract with Thermo Fisher in Alameda County;
  13         This action arises from obligations or liabilities in San Bernardino — not Alameda —
  14          County.
  15         Thermo Fisher did not breach any obligations, contractual or otherwise, in Alameda
  16          County.
  17         Thermo Fisher does not reside in Alameda County.
  18          This motion will be based on this notice, the attached memorandum in support and
  19   declarations of Elizabeth A. Brown, Karen A. Fait, and Stephanie A. Colton, the records and files
  20   in this action and any further evidence and argument the Court will receive at or before the
  21   hearing on the motion.
  22   Dated: August 16, 2017                          GRUBE BROWN & GEIDT LLP
  23

  24                                                   By:
                                                                      ELIZABETH A. BROWN
  25
                                                       Attorneys for Defendant
  26                                                   THERMO FISHER SCIENTIFIC INC.
  27

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                     DEFENDANT’S NOTICE OF MOTION AND MOTION TO TRANSFER VENUE
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        MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO TRANSFER VENUE
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        MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO TRANSFER VENUE
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   1                        MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.     INTRODUCTION
   3          Plaintiff Steven De La Cruz filed this wage-and-hour putative class action against
   4   Defendant Thermo Fisher Scientific Inc. (“Thermo Fisher”) in the wrong court. In a wage-and-
   5   hour action against a corporation, five possibilities for proper venue exist: (1) where the contract
   6   is made; (2) where the contract is to be performed; (3) where the obligation or liability arises; (4)
   7   where the breach occurs; or (5) where the corporation resides. Cal. Code Civ. Proc. § 395.5.
   8   None of these options allows Plaintiff to bring this action in Alameda County Superior Court.
   9   Thus, the Court must transfer this action to the county of Thermo Fisher’s residence for venue
  10   purposes: San Diego County.
  11          (1)      Where the contract is made: This action is not based on a contract. Even it if
  12   were, Plaintiff never contracted with Thermo Fisher in Alameda County.
  13          (2)      Where the contract is to be performed: Again, this action is not based on
  14   contract. Even if it were, Plaintiff never contracted with Thermo Fisher to perform work in
  15   Alameda County.
  16          (3)      Where the obligation or liability arises: The crux of Plaintiff’s suit is that he
  17   failed to receive compliant meal and rest periods during his employment in Chino, which is in
  18   San Bernardino County. Hence, any obligation or liability for purposes of a venue analysis arose
  19   in San Bernardino County, not Alameda County.
  20          (4)      Where the breach occurred: This action is not based on contract, so this
  21   possibility is inapplicable. Even if the Court were to consider the alleged failure to provide
  22   compliant meal and rest periods to be a breach, that alleged breach did not occur in Alameda
  23   County, as Plaintiff never worked there.
  24          (5)      Defendant’s residence for venue purposes: Thermo Fisher does not reside in
  25   Alameda County. For purposes of state court venue, a foreign corporation, like Thermo Fisher,
  26   has its county of residence in the state fixed by the identification of its “principal office” in
  27

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        MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO TRANSFER VENUE
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   1   California in business documents filed with the California Secretary of State.1 Thermo Fisher’s
   2   2017 annual statement identifies its principal office to be in San Diego County. Consequently,
   3   Thermo Fisher’s residence for purposes of venue in a California state court is fixed by statute in
   4   San Diego County Superior Court.
   5            Because venue is not proper in Alameda County, the Court must transfer this action to the
   6   county of Defendant’s residence, San Diego County.
   7   II.      FACTUAL AND PROCEDURAL BACKGROUND
   8            Plaintiff worked as a non-exempt Material Handler from on or about May 19, 2014 to
   9   June 8, 2015 at a Chino, California facility. Declaration of Karen A. Fait (“Fait Decl.”) ¶¶ 4-6.
  10   Accordingly, during the entirety of his employment, Plaintiff worked in San Bernardino County
  11   and earned his wages in San Bernardino County. Id. He also was provided meal and rest periods
  12   in San Bernardino County. Id. Plaintiff never worked for Thermo Fisher or its subsidiaries in
  13   Alameda County. Id.
  14            On March 6, 2017, Plaintiff filed this Class Action Complaint against Thermo Fisher in
  15   Alameda County Superior Court. Declaration of Elizabeth A. Brown (“Brown Decl.”) ¶ 3, Ex. A.
  16   Plaintiff brings his lawsuit on behalf of himself and an alleged class of current and former non-
  17   exempt employees of Thermo Fisher in California. Id. He brings seven causes of action, all
  18   premised on his central thesis that Thermo Fisher failed to provide compliant meal periods and
  19   permit compliant rest periods.2 Id. Plaintiff personally served the Summons and Complaint on
  20   Thermo Fisher on July 21, 2017. Id. ¶ 4.
  21   III.     THE COURT MUST TRANSFER THIS ACTION BECAUSE VENUE IS NOT
                PROPER AND THIS MOTION IS TIMELY MADE
  22
                On a timely motion to transfer venue, “the court shall, if it appears that the action or
  23
       proceeding was not commenced in the proper court, order the action or proceeding transferred to
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         The corporation’s “principal office” for purposes of venue is distinct from the corporation’s
  26   “principal place of business,” which is its nerve center. Hertz Corp. v. Friend, 559 U.S. 77, 130
       S.Ct. 1181 (2010). Thermo Fisher’s principal place of business is in Waltham, Massachusetts.
  27   2
         Plaintiff’s wage claims, itemized statement claim, and unfair competition claim all appear
       derivative of his claims for failure to provide meal periods and failure to authorize and permit rest
  28   periods. See Compl. ¶¶ 63-76; 97-101.
                                                         -2-
           MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO TRANSFER VENUE
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   1   the proper court.” Cal. Civ. Proc. § 396b (emphasis added). The burden is on the party seeking a
   2   change of venue to defeat the plaintiff’s choice of venue. Buran Equip. Co. v. Superior Court,
   3   190 Cal. App. 3d 1662, 1666 (1987).
   4            In determining whether venue is proper in a class action, the Court must examine venue as
   5   if the lawsuit were brought as an individual action. This is because “[a] predicate to a plaintiff's
   6   right to represent a class is his eligibility to sue in his own right; what he may not achieve
   7   himself, he may not accomplish as a representative of a class.” General Motors Corp. v. Superior
   8   Court, 141 Cal. App. 3d 966, 969 (1983) (quoting Petherbridge v. Altadena Fed. Sav. & Loan
   9   Assn., 37 Cal. App. 3d 193 (1974)). Consequently, the venue requirements for class actions are
  10   the same as if the class representative was suing individually. “Thus, unless venue would be
  11   proper in a personal lawsuit by the plaintiff, it is not proper in a class action.” Cal. Prac. Guide
  12   Civ. Pro. Before Trial Ch. 14-C: 14:80 (citing General Motors Corp, 141 Cal. App. 3d at 969);
  13   see also Cohelan on California Class Actions § 5:4 (2016-2017 ed.) (“The class representative’s
  14   cause of action should support venue in the county of choice.”) (citing same).
  15            A.     This Motion Is Timely.
  16            A motion for transfer because an action was filed in an “improper” court must be made
  17   within the time permitted to respond to the complaint, which is 30 days from service of the
  18   summons and complaint. Cal. Civ. Proc. Code § 396b. Plaintiff personally served the Summons
  19   and Complaint on Thermo Fisher on July 21, 2017. Brown Decl. ¶ 4. Defendant is filing this
  20   motion on August 16, 2017, which is within 30 days of July 21, 2017. Accordingly, it is timely
  21   filed pursuant to California Code of Civil Procedure section 396b.
  22            B.     Alameda County Is Not A Proper Venue Under CCP 395.5.
  23            “It is well established that a defendant is entitled to have an action tried in the county of
  24   his or her residence unless the action falls within some exception to the general venue rule.”
  25   Brown v. Sup. Ct., 37 Cal. 3d 477, 483 (1984). In a transitory action3 against a corporation, the
  26
       3
        Venue rules vary depending on whether an action is local or transitory. A local action is one for
  27   where the main relief sought relates to rights in real property. This action is “transitory” as it
       does not relate in any way to rights in real property. Cal. Code Civ. Proc. § 395(a); Brown v. Sup.
  28   Ct., 37 Cal.3d 477, 482 (1984).
                                                          -3-
           MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO TRANSFER VENUE
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   1   proper venue is governed by California Code of Civil Procedure section 395.5. See Mission
   2   Imports, Inc. v. Sup. Ct., 31 Cal. 3d 921, 927 (1982) (“Venue of transitory actions against
   3   corporations is governed by section 395.5.”).
   4          Section 395.5 provides five potential possibilities for venue in state court “(1) [i]n the
   5   county where the contract is made or (2) is to be performed, or (3) where the obligation or
   6   liability arises, or (4) the breach occurs, or (5) in the county where the principal place of business
   7   of such corporation is situated…” Cal. Code Civ. Proc. § 395.5. In the present action, Alameda
   8   County is not a proper venue under any of these options.
   9                  1.      No contract was made in Alameda County.
  10          Plaintiff does not bring any claim for breach of contract, so this potential basis for venue
  11   is inapplicable. See Cmplt. Indeed, he does not even allege that he entered any contract with
  12   Thermo Fisher relevant to his claims, let alone a contract in Alameda County. Id.
  13                  2.      No contract was performed in Alameda County.
  14          Plaintiff does not bring any claim for breach of contract, so this potential basis for venue
  15   is inapplicable. See Cmplt. Plaintiff does not allege any contract is to be performed in Alameda
  16   County. Id.
  17                  3.      The obligation or liability did not arise in Alameda County.
  18          An obligation or liability arises where the injury occurs. Regents of the University of
  19   Calif. v. Superior Court, 3 Cal. 3d 529, 542 (1970) (“It is where the shaft strikes, not where it is
  20   drawn, that counts”); see also Owens v. Paraco, Inc., 160 Cal. App. 2d 824, 826 (1958) (in action
  21   seeking overtime compensation venue was proper in Sacramento County where the plaintiff
  22   worked and was paid).
  23          Thus, this action arises in San Bernardino County, which is where Plaintiff worked and
  24   the alleged wage-and-hour violations occurred. Specifically, the crux of Plaintiff’s case is that
  25   Thermo Fisher injured him by not always providing compliant meal and rest breaks (Cmplt. ¶¶ 5-
  26   10), and, in the case of some meal periods, nonetheless deducting 30 minutes of pay (Cmplt. ¶ 7).
  27   Because, Plaintiff worked and took his all of his meal and rest breaks in Chino, California (Fait
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        MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO TRANSFER VENUE
Case 5:17-cv-01918-DDP-SP Document 1-1 Filed 08/17/17 Page 81 of 134 Page ID #:90



   1   Decl. ¶¶ 4-6), which is in San Bernardino County, any obligations and liabilities arise there and
   2   not in Alameda County.
   3                   4.      No breach occurred in Alameda County.
   4           Here again, because Plaintiff does not bring any claim for breach of contract, this potential
   5   basis for venue is inapplicable. See Cmplt. Moreover, even if one interpreted “breach” to include
   6   violations of California labor laws, as stated in subsection III.B.3. above, any such violations
   7   giving rise to this action occurred in San Bernardino County — not Alameda County.
   8                   5.      Thermo Fisher does not reside in Alameda County.
   9           A foreign corporation’s residence for venue purposes is fixed by its designation of a
  10   “principal office in the State of California” in corporate documents filed with the California
  11   Secretary of State. Cal. Corp. Code §2015(a)(3) (requiring designation of the “street address of [a
  12   foreign corporation’s] principal office within the state”). See also Bohn v. Better Biscuits, Inc.,
  13   26 Cal. App. 2d 61, 64 (1938) (“The designation of the principal place of business of a foreign
  14   corporation in this state is contained in the statement which it is required to file in the office of the
  15   secretary of state before it may legally transact business in this state.”).
  16           Moreover, a corporation may update its principal office designation using annual
  17   statements that it is required to file with the California Secretary of State. Cal. Corp. Code
  18   §2015(a)(3). If a corporation is sued in a county other than one identified in California Code of
  19   Civil Procedure section 395.5, it may move to change venue to the county of its residence. Cal.
  20   Prac. Guide Civ. Pro. Before Trial Ch. 3-D: 3:523.5.
  21           Thermo Fisher has never identified its principal office as being in Alameda County in its
  22   filings with the California Secretary of State. Accordingly, Thermo Fisher does not reside in
  23   Alameda County for purposes of venue. For purposes of establishing state court venue, Thermo
  24   Fisher instead resides in San Diego County.
  25           When Thermo Fisher first filed its business entity documents with the California Secretary
  26   of State on August 19, 1974, as a perquisite to doing business in California, it identified its
  27   principal office in the state of California as 1541 South Richey Street, Santa Ana, California
  28
                                                           -5-
        MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO TRANSFER VENUE
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   1   92705. 4 Declaration of Stephanie A. Colton (“Colton Decl.”), ¶ 3, Ex. A (Statement of
   2   Designation of Foreign Corporation). Thus, as of August 19, 1974, its county of residence in the
   3   State of California for venue purposes was fixed as Orange County.
   4            On June 1, 2017, Thermo Fisher filed its most recent annual Statement of Information,
   5   which identified its principal office in the State of California to be a location in San Diego
   6   County: 5781 Van Allen Way, Carlsbad, California 92008. Colton Decl. ¶ 5, Ex. C (Thermo
   7   Fisher’s 2017 Statement of Information). Thus, Thermo Fisher’s residence for purposes of the
   8   venue statutes is now fixed in San Diego County. Rosas v. Superior Court, 25 Cal. App. 671,
   9   673-74 (1994); Gutierrez v. Superior Court, 243 Cal. App. 2d 710, 728 (1966).
  10            C.     Transfer of the Action to San Diego County is Proper.
  11            If venue in an action against a corporate defendant is not proper, the action must be
  12   transferred to the county of the corporation’s residence in the State of California. Brown v. Sup.
  13   Ct., 37 Cal. 3d 477, 483 (1984) (“It is well established that a defendant is entitled to have an
  14   action tried in the county of his or her residence [in the state] unless the action falls within some
  15   exception to the general venue rule.”) Proper venue is determined at the time a motion to transfer
  16   is made. Kallen v. Serretto, 126 Cal. App 548, 549 (1932) (“The right of the moving party to a
  17   change [of venue] depends upon the conditions existing at the time the demand is made.”). Since
  18   Alameda County is not the proper venue for this action, the court must transfer this case to the
  19   county of Thermo Fisher’s residence — San Diego County.
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        As explained in the Declaration of Stephanie A. Colton, Thermo Fisher previously was named
  27   Thermo Electron Corporation. Colton Decl. ¶¶ 3-4. Thermo Fisher updated its name to Thermo
       Fisher Scientific, Inc. in 2006 and filed the appropriate amendment with the California Secretary
  28   of State. Colton Decl. ¶ 4, Ex. B.
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           MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO TRANSFER VENUE
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       IV.    CONCLUSION
   1
              For all the foregoing reasons, Thermo Fisher respectfully requests that the Court grant its
   2
       motion to transfer.
   3
       Dated: August 16, 2017                        GRUBE BROWN & GEIDT LLP
   4

   5
                                                     By:
   6                                                               ELIZABETH A. BROWN
   7
                                                     Attorneys for Defendant
   8                                                 THERMO FISHER SCIENTIFIC INC.

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        MEMORANDUM OF POINTS AND AUTHORITIES ISO DEFENDANT’S MOTION TO TRANSFER VENUE
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                                               Exhibit A
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                 Telephone: (619) 234-2833
               5 Facsimile: (619) 234-4048                                        MARO 6 2017
               6 Attorneys for STEVEN DE LA CRUZ,
                 on behalf of himself, all others similarly situated,
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                                                                                  JAWMAS,     Dep~
                                                                                                          coultf
               7 and on behalf of the general public .

              .8
                                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
               9
                                            IN AND FOR THE COUNTY OF ALAMEDA
              10                                                                                                I




              11     STEVEN DE LA CRUZ on behalf of               .Case No.      RG1785179z
                   • himself, all others sirriilarly situated,
              12     and on behalf of the general public,             PLAINTIFF'S CLASS ACTION
                                                                 . ·. COMPLAINT FOR DAMAGES,
              13     Plaintiffs,                                      INJUNCTIVE RELIEF, DECLARATORY
              14                                                      RELIEF., AND RESTITUTION
                     V.

              15                                                        1) Fa,ilure to Pay All Straight Time·:
                     THERMO FISHER SCIENTIFIC,
                                                                            Wages;
. (           16     INC.; and DOES 1-100,
                                                 ':'         j
                                                                        2) Fa1ilure to Pay Overtime;
                                                        -'
                                                 .     '\               3) Fa1ilure to Provide Meal Periods (Lab.
              17     Defendants.
                                                                            C.,de §§ 226.7, 512, JWC Wage Order
              18                                                          · Nos. 9-1998, 9-2000, 9-2001(11); Cal.
                                                                            Code Regs., tit. 8 § 11090);
              19                                                        4) Flldlure to Authorize and Permit Rest
                                                                            PE:riods (Lab. Code§ 226.7; IWC
              20                                                            Wage Order Nos. 9-1998, 9-2000, 9-.
                                                                            2001(12); Cal. Code Regs. Title 8 §
              21
                                                                            11090);
              22                                                        5) K1t1owing and Intentional Failure to
                                                                            Comply with Itemized Employee
              23                                                            Wage Statement Provisions (Lab.
                                                                            Code§§ 226, 1174, 1175);
              24                                                        6) Failure to Pay AU Wages Due at the
                                                                            Time of Termination of Employment
              25
                                                                            (Lab. Code §§201-203);
              26                                                        7) Vfolation of Unfair Competition Law
                                                                            (E:us. & Prof. Code § 17200, et seq.).
              27
                                                                          DEMAND FOR JURY TRIAL
              28
                                                                                                                                         ta
                                                                                                                                         a(
                                                                                                '.                                       'Tl
                   CLASS ACTION COMPLAINT                                                                                                 !>
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                           tt
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        l Plaintiffs STEVEN DE LA CRUZ, on behalf of himself, all others similarly situated, and on behal
       2
            of the general public, complains of Defendants and/or DOES and for causes of action and alleges:
       3
            1.      This is a class action pursuant to Califomia Code of Civil Procedure section 382 on behal
       4
                    of Plaintiff, STEVEN DE LA .CRUZ, and aLI non-exempt, hourly workers who ar.
       5
                    presently or formerly employed by THERMO FISHER SCIENTIFIC, INC., and/or DOES
       6
                   .and/or its subsidiaries or affiliated companies and/or predecessors and/or DOES, withi
       7
                    the State of California.
       8,
            2.      At all times mentioned herein, THERMO FISHER SCIENTIFIC, INC., and/or DOES hav
       9
                   ·conducted business in Alameda County and elsewhere ~ithin California.
      10
            ..,,
            "I
                    At all times mentioned herein, THERMO FISHER SCIENTIFIC, INC., and/or·subsidiarie
                                                    '
      11                                  '                                                       '




                    or affiliated companies and/or DOES, within th: 'State of California, have, among othe
      12
                   : things, employed current ·and former non-exempt employees.
      13
            4.     ·At all _times me11tioned herein, the common policies and practices of THERMO FI SHE
      14
                    SCIENTIFIC, INC.·, and/orDOES was a direct cause of Defendants' failure to comply wit
     , 15
                    California's wage and h<mrs laws, Wage Orders, and/or the California Labor Code, as se
      16                                                        I

                                                                                             ,\
                    forth more fully within.
      17
            5.      For at least four years prior to the filing of this action and through to the present, Defendant
      18

      19            THERMO FISHER SCIENTIFIC, INC., and/or DOES have had a consistent policy and/o

      20            practice of not paying Plaintiff and its Non-Exempt Employees for all of the hours the

      21            worked. Specifically, Defendants THERMO FISHER SCIENTIFIC, INC., and/or DOES

      22            have had a continuous and widespread policy of "clocking-out" Plaintiff and thos

      23            similarly situated for thiJiy (30) minute meal periods (referred to as "auto-meal deduct"),

      24            even though Plaintiff and those similarly situated were suffered and/or permitted to wor

      25            during these deduction periods, thereby deducting thirty (30) minutes of paid time

      26            including straight time and overtime.

      27 6.         For at least four years prior to the filing of this action and through to the present, Defendant

      28            THERMO FISHER SCIENTIFIC, INC., and/or DOES have had a consistent policy and/o


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                 practice of failing to provide all straight time and overtime wages owed to Non-Exemp
       2
                ' Employees, as mandated under the California Labor Code and the implementing rules an
       3
                 regulations of the Industrial Welfare Commission's ("IWC") California Wage Orders.
       4
           7.   · For at least four years prior to the filing of this action and t~rough to the present, Defendant
       5
                 THERMO FISHER SCIENTIFIC, INC., and/o:r DOES have had a consistent""policy o
       6
                 requiring Non-Exempt Employees within the State of California, including Plaintiff, t
       7
                 work through meal periods and work at least five (5) hours without a meal period ~n
       8' .
                 failing to pay such employees one (1) hour of pay at the employees' regulllr rate o
       9
                 compensation for each workday that the meal period is not provided, or other
      10
                 compensation, as required by California's state wage and hour laws, and autornaticall
      11
                 deducting a half hours pay from their wages.
      12
           8.    For at least four years prior to filing of this action and through the present, Defendant
      13
                 THERMO FISHER SCIENTIFIC, INC., and/or DOES did not have ·a policy of allowin
      14
                 its ::~ou1)y employees working shifts of ten (10) or more hours in a day to take a secon
      15
                 meal period of not less than thirty (30) minutes as required by the applicable Wage Orde
      16
                · of the IWC.
      17
           9.    For at least four years prior to the filing of this action and through to the present, Defendant
      18
      19         THERMO FISHER SCIENTIFIC, INC., and/or DOES have had a consistent policy o

      20         requiring Non-Exempt Employees within the State of ·california, including Plaintiff, t

      21         work over ten (10) hours without providing an additional, uninterrupted meal period o

      22         thirty (30) minutes and failing to pay such employees one (1) hour of pay at the employees'

      23         regular rate of compensation for each workday that the meal period is not provided, o

      24         other compensation, as required by California's state wage and hour laws.

      25 10.     For at least four years prior to the filing of this action and through to the present, Defendant

      26         THERMO FISHER SCIENTIFIC, INC., and/or DOES have had a consistent policy and/o
                                                                                        '
      27         practice of requiring its Non-Exempt Employees within the State of California, includin

      28         Plaintiff, to work for over four hours, or a major fraction thereof, without a 10 minute res


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                     period, and failing to pay such employees one ( l) hour of pay at the employees' regula
          2
                     rate of compensation for each workday that the rest period is not provide, or othe
          3
                     compensation, as required by California's state wage and hour laws.
          4
              11.    For at least four years prior to the filing of this action and through to the present, Defendant
          5
                     THERMO FISHER SCIENTIFIC, INC., and/or DOES and/or their officers and.lo
          6
                     managing agents ~ave had a consistent policy and/or practice of willfully failing to provid
          7
                     to Plaintiff and its Non-Exempt Employees, accurate itemized employee wage statements.
          8
              12.    For at least four years prior to the filing of this action and through to the present, Defendant
          9
                    . THE~O FISHER SCIENTIFIC, INC., .and/or DOES and/or their officers and/o
         10
                     managing agents have had a consistent policy and/or practice of willfully failing to time!
         11
                     pay wages owed to Plaintiff and those Non-Exempt Employees who left Defendant
         12
                     THERMO FISHER SCIENTIFIC, INC., and/or DOES employ or who were terminated.
         13
              13.    For at lea.st four years prior to the filing of this action and through to the present, THERM
         14
                     FISHE~ SCIENTIFIC, INC., and/or DOES, by failing to lawfully pay Plaintiff and thos
         15
                     similarly situated all the wages they are_ owed, engaged in false, unfair, fraudulent an
         16
                     deceptive busine~s practices within the meaning of the Business and Professions Cod
         17
                     section 17200, et seq.
         18
         19 14.      Throughout the statutory period, THERMO FISHER SCIENTIFIC, INC., and/or DOES

         20          employees, including Plaintiff and similarly situated Non-Exempt Employees, were no

         21          provided all straight time and overtime wages owed, meal periods and rest periods, o

         22          compensation in lieu thereof, as mandated ·under the California Labor Code, and th
                                                       "
         23          implementing rules and regulations of the Industrial Welfare Commissions ("IWC"

         24          California Wage Orders.

         25 15.      Throughout the statutory period, THERMO FISHER SCIENTIFIC, INC., and/or DOE

         26          employees, including Plaintiff and similarly situated Non-Exempt Employees were no ·

         27          provided with accurate and itemized employee wage statements.

         28 16.      THERMO FISHER SCIENTIFIC, INC., and/or DOES failed to comply with Labor Cod


              CLASS ACTION COMPLAINT                            4
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        1
                  section 226, subdivision (a), by itemizing in wage statements all hourly compensation an
        2
                  accurately reporting total hours worked by Plaintiff and the members of the proposed class.
        3
                  Plaintiff and members of the proposed class are entitled to penalties not to exceed $4,00
        4
                  for each employee pursuant to Labor Code section 226(b).
        5
            17.   THERMO FISHER SCIENTIFIC, INC., and/or DOES have failed to comply with IW
        6
                  Wage Order 9-2001(7) by failing to maintain accurate time records showing houri
        7
                  compensation, when the employee begins and ends each work day and total daily hour
        8
                  worked by itemizing in wage statements and accurately reporting total hours worked by
        9
                  Plaintiff and members of the proposed class.
       10
            18.   THERMO FISHER SCIENTIFIC, INC., and/or DOES failure to retain accurate records o
       11
                  total hours worked by Plaintiff and the proposed class was willful and deliberate, was
       12
                  continuous breach of THERMO FISHER SCIENTIFIC, INC., and/or DOES duty owed t
       13
                  Plaintiff and the prop~secl class. ·
       14
            19.   Throughout the statutory period, THERMO. FISHER SCIENTIFIC, INC., and/or DOES
       15
                  ~mployees, including Plaintiff an.d similarly .situated Non-Exempt Employees, were no
       16
                  timely paid all wages owed to them at the time of termination.
       17
            20. · Defendants THE~O FISHER SCIENTIFIC, INC., and/or DOES are and were aware tha
       18
                  Plaintiff and members of the proposed Plaintiff Class were not paid all straight time an
       19
      20          overtime wages owed, nor provided meal and rest periods. Defendants' and/or DOE

      21          denial of wages and other compensation due to Plaintiff and members of the _propose

      22          Plaintiff class was willful and deliberate.

      23 21.      Defendants THERMO FISHER SCIENTIFIC, INC., and/or DOES each and collectivel

      24,         controlled the wages, hours, and working conditions of Plaintiff and the Class he seeks t

      25          represent, creating a joint-employer relationship over Plaintiff and the Class he seeks t

      26          represent.

      27 22.      Plaintiff STEVEN DE LA CRUZ, on behalf of himself and all of THERMO FISHE

      28          SCIENTIFIC, INC., and/or DOES Non-Exempt Employees, brings this action pursuant t


            CLASS ACTION COMPLAINT.                         5
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        1
                  California Labor Code sections ~26, subd. (b), 226.7. 510, 512, 515, 558, 1194, and
        2
                  California Code of Regulations, Title 8, section 11090, seeking unpaid wages, overtime
        3
                  meal and rest period compensation, penalties, injunctive and other equitable relief, an
        4
                  reasonable. attorneys' fees and costs.
        5
            23.   Plaintiff STEVEN DE LA CRUZ, on behalf of himself and all putative Class Members o
        6
                  THERMO FISHER SCIENTIFIC, INC., and/or DOES non-exempt employees, pursuan
        7
                  to California Business and Professions Code sections 17200-17208, also seeks injunctiv
        8
                  relief, restitution, and disgorgement of all benefits THERMO FISHER SCIENTIFIC, INC.
        9
                  and/or DOES enjoyed from their failure to pay all straight time wages, overtime wages
       10
                  and meal and rest period compensation.
       11
                    I.    VENUE
       12                                        .                                 .


            24.   Venue as to each Defendant, THERMO FISHER SCIENTIFIC, INC., and/or DOES, i
       13
                  proper in this judicial district, pursuant to Code ci Civil Procedure section 395. Defendant
       14
                  ,.THERMO FISHER SCIENTIFIG, INC., and/or DOES conduct business and. commi
       l~
                                       '
                  Labor Code ·violations within:Alameda County, and each Defendant and/or DOE is withi
       16
                  California for service of process purposes. The unlawful acts alleged herein have a direc
       17
                  effect on Plaintiff and those similarly situated within the State of California and withi
       18

       19         Alameda County. Defendants THERMO FISHER SCIENTifIC, INC., and/or DOES

       20         employ numerous Class Members who work in Alameda County, in California.

       21          II.    PARTIES

       22 A.      Plaintiffs.

       23 25.     At all relevant times herein, Plaintiff STEVEN DE LA CRUZ is and was a resident o

       24         California. At all relevant times herein, he was empl9yed by Defendants THERM

      25          FISHER SCIENTIFIC, INC., and/or DOES within the last four years as a non~exempt

      26          hourly worker in California.

      27 26.      On information ·and belief, Plaintiff and all other members of the proposed Clas.
                                                                               r

      28          experienced Defendants' THERMO FISHER SCIENTIFIC, INC.,and/or DOES commo

                                                                        (

            CLASS ACTION COMPLAINT                          6
                                                                             •
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        1
 ,,                 company policies of failing to pay all straight tirn~ and overtime wages owed.
        2
            27.     On information and belief, Plaintiff and all other members of the prqposed
        3
                    experienced Defendants' THERMO FISHER SCIENTIFIC, INC., and/or DOES commo
      ,.4
                    company po~icies of illegally deducting wages from employees for ni.eal periods durin
        5
                    which they were perfonning work.
        6
            .28.    On inf01mation and belief, Plaintiff and all other members of the proposed Clas
        7
                    experienced Defendants' THERMO FISHER SCIENTIFIC, INC., and/or DOES commo
        8
                    policies and/or practices of failing to pay all straight time ~d overtime wages owed, an
        9                                                                     .       .                     .
                    failing to provide compliant meal periods to employees before the end of their fifth. hou
       10
                   · of work or a second meal period before the end of the tenth hour or work, or compensatio
       11
                    in lieu thereof.
       12
                                                            ·'
            29.     On information and belief, Plaintiff. ,and all other members of the proposed Clas
       13
                    exp~rienced Defendants' THERMO FISHE~ SCIENTIFIC, INC., and/or DOES commo
       14             •.                                '            '                                          I




                   · company policies of failing to provide ten ( 10) rr1inute paid rest breaks to employees who·_
       15                                                                '        (                                 '



                    worked four (4) hours c;r major fractions the1;eof.
       16
            30:·    On infom1ation and belief, Plaintiff and all other members of the proposed
       17
                    experienced Defendants' THERMO FISHER SCIENTIFIC, INC., and/or DOES commo
       18
                    company policies of failing to provide Non-Exempt Employees with accurate itemize
       19

       20           wage statements. On information and belief, Defendants and/or DOES failure to provid

       21           to their Non·Exempt Employees, including Plaintiff, with accurate itemized wag

       22           statements was willful.

       23 31.       On information and belief, Plaintiff and all other members of the proposed Clas

       24           experienced Defendants' THERMO FISHER SCIENTIFIC, INC., and/or DOES.comma

       25           company policies offailing to timely compensate Non-Exempt Employees all wages owe

       26           upon termination. On information and belief, Defendants and/or DOES failure to pay Non

       27           Exempt Employees, including Plaintiff, in a timely manner, compensation owed to the

       28           upon termination of their employment with THERMO FISHER SCIENTIFIC, INC.


            CLASS ACTION COMPLAINT                               7                        j
                                                                              -
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                       and/or DOES was willful:
        2
            32.        On infmmation and belief, Plaintiff and all other members of the proposed
        3
                       experienced Defendants THERMO FISHERSCTENTIFIC, INC., and/or DOES fraudulen
        4
                       and deceptive business practices within the meaning of the Business and Professions Cod
        5
                       section 17200, et seq.
        6
            33.    · Plaintiff and the proposed class he seeks torepresent are covered by, inter alia, Californi
        7
                       IWC Occupational Wage Order Nos. 9-1998, 9-2000, and 9-2001, and Title 8, Californi
        8
                       Code of Regulations, §11090.
        9
            B.         Defendants.
       10                                                                                          '   '
            34.        At all relevant times he:rein, THERMO FISHER SCIENTIFIC, INC., and/or DOES sell
       11
                       laboratory equipment, chemicals, supplies, and services used in healthcare, scientifi
       12
                       research, safety, and educatfon. THERMO FISHER SCIENTIFIC, INC. and/or DOES
       13                                                                                     ·,
                       have employed hourly, non-exempt employees like Plaintiff STEVEN DE LA CRU
       14
                       throughout ~he statutory liability period to ~ork in their facilities.··
       15
            35.        On information an~ belief, THERMO FISHER SCIENTIFIC, INC., and/or DOES
       16
                       exercised control over the wages, hours, and/or working conditions of Plaintiff an
       17
                       members of the proposed class throughout the liability period.
       18
            36.,       THERMO FISHER SCIENTIFIC, INC., and/or DOES,prindpal place of business is in th
       19
      20               State of California.

      21 37.           The true names and capacities, whether individual, corporate, associate, or otherwise, o

      22               Defendants DOES 1-100, inclusive, are presently unknown to Plaintiff, who therefore sue

     · 23              these Defendants by such fictitious names under Code of Civil Procedure section 474.

      24               Plaintiff is informed and believes, and based thereon alleges, that each of the Defendant

      25               designated herein as a DOE is legally responsible in some manner for the unlawful act

      26           . referred to herein. Plaintiff will seek leave of court to amend this Complaint to reflect th
                                                                                                           (


      27               true names and capacities of the Defendants designated hereinafter as' DOES when sue
                   (

      28               identities become known.

                                '   ,,
            CLASS ACTION COMPLAINT                                 8.
                                                                        •
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        1
             38.    Plaintiff is infonned and believes, and based thereon alleges, that each Defendant and/a
        2
                    DOE acted in all respects pertinent to this action as the agent of the other Defendants and/o
        3
                    DOES, carried out a joint scheme, business plan or policy in all respects pertinent hereto
        4                                                                               {


                    and the acts of each Defendants and/or DOES are legally attributable to the othe
        5
                    Defendants and/or DOES.
        6
             III.   CLASS ACTION ALLEGATIONS
        7
             39.    Plaintiff brings this action on behalf of themselves and all othe.rs similarly situated as
        8
                    class action pursuant to s~ction 382 of the California Code of Civil Procedure. Plaintif
        9
                    seeks to represent a Class composed of and defined as follows:
       10
                           All persons who are employed or :have been employed by
       11
                           Defendants in the State of California as hourly, Non-Exempt
       12
                           workers during the period ·of the relevant statute of limitations.
        13
       '
                    Plaintiff also seeks to represent a Subclass composed of and defined as follows:
       14

       15
                           All persons who are or have been emplo:ied by THERMO FISHER
       16
                           SCIENTIFIC, INC., and/or DOES in the State of California as
       17
                           hourly, Non~Exempt workers during the period of the relevant
       18

       19                  statute of limitations, who worked one or more shifts in excess of 5

       20                  hours.

       21
     , 22                  All persons who are or have been employed by THERMO FISHER

       23                  SCIENTIFIC, INC., and/or DOES in the State of California as

       24                  hourly, Non-Exempt workers during the period of the relevant

       25                  statute of limitations, who worked one or more shifts in excess of 6

       26                  hours.

       27

       28                  All persons who are or have been employed by THERMO FISHER


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                        ''                                            •
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        1
                        SCIENTIFIC, INC., and/or DOES in the State of California as
        2
                        h~urly, Non-Exempt workers during the period of the relevant
        3
                        statute of limitations, who worked one or more shifts in excess of 10
        4
                        hours.
        5

        6
                        All persons who are or have been employed by THERMO FISHER
        7
                         SCIENTIFIC, INC., and/or DOES in the State of California as .
        8
                        hourly, Non-Exempt workers during the period of the relevant
        9
                         statute of limitations, who worked one or more shifts in excess of 12
       10
                        hours.
       11

       12
                         All persons who are or have been ~mplo:fed by THERMO FISHE.R
       13
                         SCIENTIFIC, INC., and/or DOES in i:he State of California a~
       14

       15
                        hourly, Non-Exempt workers duri~g the period 'of the relevant

       1,6               statute of limitations, who worked one o:r more shifts in excess of 3

       17               h~ur and one-half hours, but less than or equal to 6 hours.
       18
       19

       20               All persons who are or have been employed by THERMO FISHER

       21                SCIENTIFIC, INC., and/or DOES in the State. of California as

       22               hourly, Non-Exempt workers during the period of the relevant
       23
                         statute of limitations, who worked one o:r more shifts in excess of 6
       24
                         hours, but less than or equal to 10 hours.
       25

       26
       27               All persons who are or have been employed by THERMO FISHER
       28


             CLASS ACTION COMPLAINT                        10
                         ''                                          •
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        1·               SCIENTIFIC, INC., and/or DOES in the State of California as

       2                 hourly, Non-Exempt workers during the period of the relevant

       3                 statute of limitations, who worked one or more shifts in excess of 10
       4
                         hours.
        5
       6

       7                 All persons who are or have been employed by THERMO FISHER
        8
                         SCIENTIFIC, INC., and/or DOES in the State of California as
       9
                         hourly, Non-Exempt workers. during the period of the relevant
                                          ~



      10
                         statute of limitations, who separated their employment from
      11
       12                Defendant.

       13
       14
                         All persons who are or have been employed by THERMO FISHER
       15                         ,'!




                         SCIENTIFIC, INC., and/or DOES in the State of California as
       16
       17                hourly, Non-Exempt workers during the period of the relevant

       18                statute of limitations, who worked one or more shifts in which they

      19                 received a wage statement for the corresponding pay period.
      20

      21

      22                 All persons who are or have been.employed by THERMO FISHER
      23                 SCIENTIFIC, Il'l'C., and/or DOES in the State of California as
      24                 hourly, Non-Exempt workers during the period of the relevant
      25                 statute of limitations, who_were deducted wages for meal periods.
      26
      27 40.      Plaintiff reserves the right under rule 1855, subdivision (b), California Rules ofCourt, t
      28


             CLASS ACTION COMPLAINT                       11
                              -                                           ••
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           .1          amend o:r modify the Class description with greater specificity or further division int
            2
                       subclasses or limitation to particular issues.
            3
                 41.   This action has been brought and !llay properly be maintained as a class action under th
            4
                       provisions of section 382 of the California Code of Civil Procedure because there is a well
            5
                       defined community of interest in the litigation and the proposed ,Class is easil
            6
                       ascertainable.
            7
                 A.    Numerosity.
            8
                 42.   The. potential members of the Class as defined are so numerous that joinder of all th
            9
                       members of the Class is impracticable. While the precise number of Class Members ha
           10
                       not been determined at this time, Plaintiff is informed and believes that THERMO FISHE
           11
                       SCIENTIFIC, INC., and/or DOES currently employ, and during the liability, perio
           12
                       . employed,
                           ~-      over fifty ~mployees, all in the State of California, in positions
                                                                                              .
                                                                                                      as THERM
i          13                                 ,                                            '                 '




                       FISHER SCIENTIFIC, INC. hourly non-exerppt employees.
           14·
                 43.   Accounting for employe~ turnover during the relevant periods increases this nwnbe
           15
                       substantially. Upon information . and belief, Plaintiff alleges THERMO FISHE
           16
                       SCIENTIFIC, INC., andJor DOES employment records would provide information as t
           17
                       the number and location of all Class Members. Joinder of all members of the propose
           18
           19          Class is not practicable.

           20 B.       Comrno111ality.

           21    44.   There are questions of law and fact common to the Class that predominate over an

           22          questions affecting only individual Class Members. These common questions of law an

           23          fact include, without limitation:

           24                           (1)   Whether THERMO FISHER SCIENTIFIC, INC., and/or
                                                                 I,

           25                  DOES violated the Labor Code andJor. applicable IWC Wage Orders in

           26                  failing to pay its non-exempt_ workers all earned wages at the regular rate

           27                  for all hours worked.
         . 28                           (2) Whether THERMO FISHER SCIENTIFIC, INC., and/or DOES


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      1
                      uniform policies and/or practices whereby non-exempt workers were
      2
                      pressured and/or incentivized to forego taking meal apd/or rest periods.
      3
                             (3)     . Whether THERMO FISHER SCIENTIFIC, INC., and/or
      4
                      DOES violated Labor Code section226.7; IWC Wage Order No: 9-2001 or
      5
                      other applicable IWC Wage Orders, and California Cocle of Regulations,
      6
                      Title 8, section 11090, by failing to ~uthorize, permit, and/or provide rest
      7
                      periods to its hourly, non~exempt employees for every four (4) hours or
                                                   I
      8
                      major fraction thereof worked and/or failing to pay said employees one (1)
      9
                      hour of   pay. at the employee's regular ra:te of compensation for each work
     10
                      day that the rest period was not authorized, permitted and/or provided.
    11
                             (4}      Whether THERMO FIS}IER SCIENTIFIC, INC., and/or
     12
                      DOES willfully failed to pay, in a timely manner, wages owed to members
    13
                      of the proposed Class who left THERMO FISHER SCIENTIFIC, INC.,
   · 14
                      and/or DQES ~rnpl~y or who were terminated.
     15
                             (5)      Whether THERMO FISHER SCIENTIFIC, INC., and/or
    16
                      DOES violated Labor Code section 20fwhich provides for the assessment
     17'
                      of a penalty against the employer, by willfully failing to timely pay all
    18

    19                wages owed to employees who left THERMO FISHER SCIENTIFIC, INC., . ·

    20               , and/or DOES employ or who were terminated.

    21                       (6)      Whether THERMO FISHER SCIENTIFIC, INC., and/or

    22                DOES had uniform policies and/or practices of failing to provide employees

    23                accurate and itemized wage statements.

    24                       (7)      Whether THERMO FISHER SCIENTIFIC, INC., and/or

    25                DOES had uniform policies and/or practices of failing to timely pay all

    26                wages owed to employees who left THERMO FISHER SCIENTIFIC, 'INC.,

    27                and/or DOES employ or who were terminated.

    28                       (8)      The answer to each of these respective questions will


           CLASS ACTION COMPLAINT                       13
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                                                                                            I
      1
                            generate a common answer capable of resolving class-wide liability in one
      2
                            stroke.
      3                                                   ./

           45.    Said common questions predominate over any individualized issues and/or question
      4
                  affecting only individual members.
      5
           c.     Typicality.
      6
           46.    The claims of the named Plaintiff are typical of 1:he claims of the proposed Class. Plaintif
      7
                  and all memb_ers of the proposed Class sustained injuries and damages arising out of an
      8
                  caused by THERMO FISHER SCIENTIFIC, INC.~ and/or DOES common course o
      9
                  conduct in violation of laws and regulations that have the force and effect of law an
     10'
                  statutes as alleged.
     11
           47.    Plaintiffs STEVEN DE LA CRUZ was subjected to the same uniform policies and/o
     12               '                                                                                   I



                  practices complained of herein that affected all such employees. Thus, as STEVEN DEL
     13                               '                                       ',

                  CRUZ ~vas subjected to the same unlawful policies and practices as all hourly non
     14
                  exempts, his claims are typical of the class he seeks to represent.
     15
           D.     Adequacy of Representation.
     16
           48.    Plaintiff will fairly and adequately represent and protect the interests of the members of th - ·
     17
    . 18          Class .

     19 49.       Plaintiff is ready and willing to take the time necessary to help litigate this case.

     20 50.       Plaintiff has no conflicts that will disallow her to fairly and adequately represent an

     21          _protect the interests of the members of the class.
                                                                     l

     22 51.       Counsel who represent Plaintiff are competent and experienced in litigat!ng

     23           employment class actions ..

     24 52.       Specifically, William Turley, Esq. and David Mara, Esq. are Califomia lawyers iri goo

     25           standing.

     26 53.       Mr. Turley regularly lectures lawyers on wage and hour class action issues. He has been

     27           featured speaker on many AGI Wage and Hour Class Action presentations and Consume

     28           Attorney of California Wage and Hour Class Action presentations.


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            1
                 54.        Mr. Turley is listed as Amicus counsel on over 20 California Supreme Court decisions.
            2
                 55.        Mr. Turley is a Past President of Consumer Attorneys of San Diego and has been electe
            3
                            to the Board of Governors of the Consumer Attorneys of California for over 15 years. Mr.
        ·4
                            Turley is currently on and has been :a member of the Consumer Attorneys ofCaliforni
            5
                        1   An1icus Curie Committee for over 20 years.
            6
                · 56.       Mr. Turley has had over 100 legal articles published, including some on California Labor
            7
                            Code.
            8
                 57.        Mr. Turley and Mr. Mara were appointed class counsel in the landmark,_California Suprem
            9
                            Court case, Brinker v. Superior Court and have been appointed. as class .counsel in man
        10
                            California wage and hour cases, in both State Court and Federal Court.
        11
                 58.        Mr. Turley and The Tu.rley Lm~ Firm, A.PLC have the resources to tak.e this case to tria
        12
                            ·and judgment; if necessary.
        13
        I


                 59.        Mr. Turley and Mr. Mara havi the 'experience,· ability, and ways and means to vigorousl
   r-   14
                            prosecute this case.
        15
                 E.          Superiority of Class Action.
        16
                 60'.       A class action is superior to other available means for the fair and efficient adjudication o
        17
                            this controversy. Individual joinder of all Class Members is not practicable, and question
        18

        19                  of law and fact common to the Class predominate over any questions affecting onl

        20                  individual members of the Class. Each member of the Class has been damaged and i'

        21                  entitled to recovery by reason of THERMO FISHER SCIENTIFIC, INC., and/or DOES

        22                  iilegal policies and/or practices offailing to pay all straight time and overtime wages owed

        23                  failing to permit or authorize rest periods, failing to provide meal periods, knowingly an

        24                  intentionally failing to comply with wage statement requirements, and failing to pay al

        25                  wages due at termination.

        26 61.          ,Class actipn treatment will allow those similarly situated persons to litigate their claims i

        27                  the manner that is most efficient and economical for the parties and the judicial system.

        28                  Plaintiff is unaware of any difficulties that are likely to be encountered in the managemen


                 CLASS ACTION COMPLAINT                               15
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.   "

               1
                          of this action that would preclude its maintenance as a class action.
              2
                   62.    Because such common questions predominate1 over any individualize? issues and/o .
              3
                         · questions affecting only individual members, class resolution is superior to other method
              4
                          for fair and efficient adjudication.
              5
                   IV.    CAUSES OF ACTION
              6
                          First Cause of Action Against THERMO FISHER SCIENTIFIC, INC.,
              7           DOES: Ji'ailure to Pay All Straight Time Wages
              ·8 63.      Plaintiff and those similarly situated Class men:tbers hereby incorporate by reference eac
              9           and every other paragraph in this Complaint herein as if fully plead.
             10 64.       Defendants and/or DOES have had a continuous policy of not paying Plaintiffs and thos
             11
                          similarly situated for all hours worked. Specifically, Defendants and/or DOES have
             12
                          continuous and consistent policy,of clocking~out Plaintiff and those similarly situated fo
                           I

             13
                          a thii1y (30) minute meal· period, even though Plaintiff and all members of the Class wor
             14                     '   '    '



                          through th~ir meal periods .
            . 15
                   65.    Thus, THERMO. FISHER SCIENTIFIC, INC., and/or DOES shave/steal earned \\'age
             16
                          from Plaintiff and each and every member of the Class each and every day they wor
             17
                          without a meal period and have time deducted.
             18
                   66.    Plaintiff and those similarly situated Class members are infom1ed and believe and thereo
             19
                          allege that THERMO FISHER SCIENTIFIC, INC., and/or DOES breached the legal dut
             20
                          to pay full wages to Plaintiff by deducting a portion of the wages earned when Plaintiff an
             21
                          the Class members' actual time records indicated that a meal period was not taken.
            22
                          THERMO FISHER SCIENTIFIC, INC., and/or DOES did not make reasonable efforts t
            23
                          determine whether the .time deducted was actually worked as reported by Plaintiff and
            24
                          Class members. THERMO FISHER SCIENTIFIC, INC., and/or DOES, without,
            25
                          reasonable basis, presumed that actual reported hours had not been accurately reported.
            26
            27
                          The conduct complained of is a form    of what is sometimes called "dinging," "shaving," o
                         . "scrubbing" and is prohibited by law. THERlv10 FISHER SCIENTIFIC, INC.·, and/o
            28


                   CLASS ACTION COMPLAINT                          16
                                                                         •
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                  DOES also failed to. pay for the overtime that was due pursuant to Labor Code 510, 515
     2                                       )


                  and 1194 and Industrial Welfare Commission Order No. 9-2001, item 3(A).
      3
          '67 .   Plaintiff and the Class members are informed and believe and thereon allege that as a direc
     .4
                  result of the systematic deductions in pay Plaintiff and.the Class members have suffered
      5
                  and continue to suffer, substantial unpaid wages, and lost interest on such wages, an
      6
                  expenses and attorneys' fees in seeking to compe:1 THERMO FISHER SCIENTIFIC, INC.
      7
                  and/or DOES to fully perfonn their obligations under state law, all to their respectiv
      8
                  damage in amounts, according to proof at trial.
      9
          68.     As a direct result of THERMO FISHER SCIENTIFIC, INC., and/or DOES policy of illega
     10
                  wage theft, Plaintiff and those similarly situated have been damaged in an amount to b
     11
                  proven at trial.
     12
          (59.    WHEREFORE, Plaintiff and the Class she seeks to represent request relief as describe
     13
                  below.
     14
     15           Second Cause of Action Against THERMO FISHER SCIENTIFIC, INC., and/o
                  DOES: Failure to Pay Overtime      , ,. : . .         .
     16                    •                                        !'

          70,     Plaintiff and those similarly situated Class members hereby incorporate by reference each
                       ,                                             ,



     17
                  and every other paragraph in this Complaint herein as if fully plead.
     18
          71. , It is fundamental that an employer must pay its employees for all time worked. Californi
     19
                  Labor Code sections 218 and 218.5 provides a right of action for nonpayment of wages.
    20
                  Labor Code section 222 prohibits the withholding of part of a wage. Labor Code sectio
    21
                  223 prohibits the pay ofless than a statutory or contractual wage scale. Labor Code sectio
    22
                  1197 prohibits the payment ofless than the minimum wage. Labor Code section 224 onl
    23
                  permits deductions from wages when the emplc-yer is required or empowered to do so b
    24
                  state or federal law or when the deduction is expressly authorized in writing by th
    25
                  employee for specified purposes that do not have the effect of reducing the agreed upo
    26
                  wage.
    27
          72.     THERMO FISHER SCIENTIFIC, INC., and/or DOES failed to pay overtime whe
    28


          CLASS ACTION COMPLAINT                           17
                                                                          •
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          1
                    employees worked over 8 hours per day and when employees worked over 40 hours pe
         2
                    .week.
         3
              73.   Plaintiff and those similarly situated Class members were employed by THERMO FISHE
         4
                    SCIENTIFIC, INC., and/or DOES at all relevant times. THERMO FISHER SCIENTIFIC
         5                       .                          '

                    INC., and/or DOES were required to compensate Plaintiff for all hours worked and we,r
         6
                    prohibited from making deductions that had the -effect of reducing the agreed upon wage.
         7
              74.   Plaintiff and those similarly situated Class members are infonned and believe and thereo
         8
                    allege that THERMO FISHER SCIENTIFIC; INC., and/or DOES breached the legal du
         9
                    to pay full wages to Plaintiffs by deducting a portion of the wages earned when Plaintiff
        10
                    and the Class Members' actual time records indicated that a meal period was not taken.
        11
                    THERMO FISHER SCIENTIFIC, INC., and/or DOES devised a computer program to edi
        12
                    the actual
                            .
                               hours reported by Plaintiff and the Class Members, deducting a portion of thI
        13
                    hours shown as worked hours when a meal period and/or rest period was not taken durin
        14                                                           <;
                    the work day. THERMO FISHER SCIENTIFIC; INC.,. and/or DOES did not mak
        15
                    reasonable efforts to determine whether the time deducted· was actuapy worked as reporte
        16
                    by Plaintiff and the Class Members. THERJ\1(O FlSHER SCIENTIFIC, INC., and/o
       . 17
                    DOES, without a reasonable basis,/ presumed that actual reported hours had not bee
        18

        19          accurately reported. The conduct complained of is a form of what is sometimes calle

        20          "dinging··, and is prohibited by law. THERMO FISHER SCIENTIFIC, INC., and/or DOES

        21          also failed to pay for the overtime that was due, pursuant to IWC Wage Order No. 9-2001

        22          item 3(A).

        23 75.      Plaintiff and the Class Members are informed and believe and thereon allege that as a direc

        24          result of the systematic deductions in pay, resulting from application of an automati

        25          computer program and overtime, Plaintiff and the Class Members have suffered, an

        26          continue to suffer, substantial unpaid wages, and lost interest on such wages, and expense

        27          and attorneys' fees in seeking to compel THERMO FISHER SCIENTIFIC, INC., and/o
   (
        28          DOES to fully perform their obligations under state law, all to their respective damage i


              CLASS ACTION COMPLAINT                            18
                                                                      •
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      1
                amounts according to proof at time of trial. THERMO FISHER SCIENTIFIC, INC., and/o
      2
                DOES committed the acts alleged herein knowingly and willfully, with the wrongful an
      3
                deliberate intention on injuring Plaintiff and the Class Members. THERMO FISHE
      4
                SCIENTIFIC, INC., and/or DOES acted with mal:ice or in conscious disregard of Plaintiff
      5
                and the Class Member's rights. In addition to compensation, Plaintiff is also entitled to any
                                            r
      6
                penalties allowed by law.
      7
          76.   WHEREFORE, Plaintiff and the _Class she seeks to represent request relief as describe
      8
                below.
      9
                Third Cause of Action Against THERMO FISHER SCIENTIFIC, INC.~ and/o
    10
                DOES: Failure to Provide Meal Periods, or Compensation in Lieu Thereof (Lab
    11          Code §§ 226.7, 512, IWC Wage Order Nos. 9-1998, 9-2000, 9-2001(n); Cal. Cod
                Regs.; t.it. 8, § 11090)
    12
          77.   Plaintiff and those similarly situated Class members hereby-incorporate by reference eac
    13
                and every other paragraph in this Complaint herein as if fully plead.
    14
          78.   Under Calif~~niCl Labor Code section 512 and IWC Wage Order No. 9, no empioyer· shall
    15
                -employ anyper~ou-for a work period of more than five (5) hours without providing a mea
    16
                period of not less than thirty. (30) minutes. During this meal periods of no·t le.ss than thirt
    17
                (30) minutes, the employee is to be completely free of the employer's control and must no
    18
                perform any work for the employer. If the employee does perfonn work for the employe
    19
                during the thirty (30) minute meal period, the ,employee has not been provided a mea
    20                   '                                                               .

                period in accordance with the law. Also, the employee is to be compensated for any wor
    -21
                performed during the thirty (30) minute meal period.
    22
          79.   In addition, an employer may not employ an employee for a work period of more than ten
    23
                (10) hours per day without providing the employ~e with another meal period of less tha
    24
                thirty (30) minutes.
    25
    26 80.      Under California Labor Code section 226. 7, if the employer does not provide an emp~oye

    27          a meal p1;riod in accordance with the above n:quirements, the employer shall pay th

    28          employee one (1) hour of pay at the employee''s regular rate of compensation for eac



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     ·1
                      workday that the meal period is not provided.
      2
          81.         THERMO FISHER SCIENTIFIC, INC., and/or DOES failed to·provide thirty (30) minute
      3
                      uninterrupted meal periods to its Non-Exempt Employees who worked for work periods o
      4
                      more than five (5) consecutive hours. As such, THERMO FISHER SCIENTIFIC, INC.
      5
                      and/or DOES non-exempt employees were required to work well over five (5) consecutiv
      6
                      hours at a time without being provided a thirty (30) minute uninterrupted meal perio
      7
                \     within that time.
      8
          82.         THERMO FISHER SCIENTIFIC, INC., and/or DOES failed to provide thirty (30) minute,
      9
                    · . uninterrupted meal periods to its Non-Exempt Employees for every five (5) continuou
     10
                      hours worked.
     11
          83.         THERMO FISHER SCIENTIFIC, INC., and/or DOES business model was such that Non
     12
                      .Exempt Employees were assigned too much work and with insufficient help due to chroni
     13
                      understaffing to be able to take meal periods'. Thus, Plaintiff and the class would not b
    }4
                      able to take meal periods despite the fact that Defendant and or DOES clocked out Plaintif
     15
                      as if they did take 30-minutemeal periods.
     16
          84.         Throughout the statutory period, THERMO FISHER SCIENTIFIC, INC., and/or DOES
     17
                      had a pattern and practice of assigning too much work to be completed in too short of tim
     18
                      frames, resulting in Plaintiff and those similarly situated not being able to take meal
     19

    20                periods.

    21 85.            THERMO FISHER SCIENTIFIC, INC., and/or DOES would not permit Plaintiff and th

    22               · class to take 30-minute meal periods unless specifically scheduled to or expressly told t

    23                by Defendant and/or DOES. This routinely resulted in Plaintiffs and the class members no

    24                being able to take a meal period, if at all, until after the fifth hour.

    25 86.            THERMO FISHER SCIENTIFIC, INC., and/or DOES did not have a policy ofprovidin

    26                a second meal period before the end of the tenth hour.

    27 87.            Failing to provide compensation for such unprovided or improperly provided meal periods

    28                as alleged above, THERMO FISHER SCIENTIFIC, INC., and/or DOES willfully violate


          CLASS ACTION COMPLAINT                                  20
                                                                         •
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                     the provisions of Labor Code sections 226.7, 512, and IWC Wage Order No. 9.
           2
               88.   As a result of the unlawful acts of THERMO FISHER SCIENTIFIC, INC., and/or DOES
'-         3
                     Plaintiff and the Class he seeks to represent have been deprived of premium wages, i
           4
                     amounts to be determined at trial, and are entitled to recovery of such amounts, plusinteres
           5
                     and penalties thereon, attorneys' fees and costs, pursuant to Labor Code sections 226
           6
                     226.7, and IWC Wage Order Nos. 9-1998, 9-2000, 9-2001. Plaintiff and the Class he seek
           7
                     to represent did not willfully waive their right to take meal periods through mutual consen
           8
                     with THERMO FISHER SCIENTIFIC, INC., and/or DOES.
           9
               89.   WHEREFORE, Plaintiff and .the Class she seeks to represent request relief as describe
          10
                     below.
          11
                     Fourth Cause of Action Against THERMO FISHER SCIENTIFIC, INC., and/o
          12
                     DOES: :Failure to At1.thorize and Permit Rest :Periods (Lab. Code§ 226.7; IWC Wag
          13         Order Nos. 9-1998, 9~2000, 9-2001(12); Cal. Code Regs. Title 8 § 11090)

          14 90.     Plaintiff and those similarly situated Class members her.eby incorporate by reference eac

          15         and every other paragraph in this Coniplaint herein, as if fully pleal .

          16 91.     THERMO FISHER SCIENTIFIC, INC., and/or DOES failed to authorize and permit Non

          17         Exempt Employees to take ten (10) minute rest periods every four (4) hours worked,
                                                                                                     I
                                                                                                        or

          f8         major fraction thereof.
     r                                                             I
          19 92.     THERMO FISHER SCIENTIFIC, INC., and/or DOES failed to provide ten (10) minut

         20          paid rest breaks to Non-Exempt Employees for each four (4) hours worked, or majo
         21          fraction thereof.
         22 93.      In the alternative, THERMO FISHER SCIENTIFIC, INC., and/or DOES business mode
         23          was such that Non-Exempt Employees were assigned too much work with insufficient hel
         24          due to chronic understaffing whereby Plaintiff and the class had to work through their res
         25          periods.
         26 94.      Throughciut the statutory period, THERMO FISHER SCIENTIFIC, INC., and/or DOES
         27          had a pattern and practice of assigning too much work to be completed in too short of tim
         28


               CLASS ACTION COMPLAINT                         21
                                                                      •
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                frames, resulting in Plaintiff and those similarly situated not being able to take rest periods.
     2
         95.    WHEREFORE, Plaintiff and the Class he seeks to repr~sent request relief as describe
     3
                below.
     4
                Fifth Cause of Action Against THERMO FISHER SCIENTIFIC, INC., and/o
     5          DOES: Knowing and Intentional Failure to Comply with Itemized Employee Wag
                Statement Provisions ab. Code    226 1174 1175· IWC Wa e Order No. 4· Cal
     6
                Code Regs. 2 Title 82 § 11040)
     7 96.      Plaintiff and those similarly situated Class members hereby incorporate by reference eac
     8          and every other paragraph in this Complaint herdn as if fully plead.
     9
         97.    Labor Code section 226 subdivision (a) requires Defendants and/or DOES to, inter alia,'t
    IO
                itemize in wage statements and to accurately report the total hours worked and total wage
    II
                earned. THERMO FISHER SCIENTIFIC, INC., and/or DOES have ·knowingly an )


    12
                intentionally failed to comply with Labor Code section 226, subdivision (a), on each an
    13
                every wage .s,tateme1i.t 'provided to Plaintiff STE"VEN DE ,LA CRUZ and members of th ·
    14
                proposed Cl~ss.
    15                     ,.                                                 '                                    \

         98.    Labor Code section 1174 requires THERMO FISHER SCIENTiFIC, INC., and/or DOE
    I~                          '
                to maintain an,d preserve, in a centralized location, records showing the daily hours worke
    17
                by and the wages paid to its employees. THERMO FISHER SCIENTIFIC, INC., and/or
    18
                DOES have knowingly and intentionally failed to comply with Labor Code section 1174.
    19
                The failure of THERMO FISHER SCIENTIFIC, INC., and/or DOES, and each of them, t
    20
                comply with Labor Code section 1174 is unlawful pursuant to Labor Code section 1175.
    21
         99.    THERMO FISHER SCIENTIFIC, INC ..1 and/or DOES failed to maintain accurate tim
    22
                records - as required by IWC Wage Order Nos. 9-2001(7), 9-2000(7), 9-1998(7) and Cal.
    23
                Code Regs., Title 8 section 11090 - showing, among other things, when the employe
    24
               · begins and ends each work period, the total daily hours worked in itemized wag
    25
                statements, .total wages, bonuses and/or incentives earned, and all deductions made.
    26
    27 100. . As a direct result of THERMO FISHER SCIENTIFIC, INC., and/or DOES unlawful acts,

    28          Plaintiffs and the class they intend to represent have been damaged and are entitled t



         CLASS ACTION COMPLAINT                            22
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            1
                         recovery of such amounts, plus interest thereon, attorneys' fees, and costs, pursuant t
            2
                         Labor Code section 226.
            3
                 101.    WHEREFORE, Plaintiffs and the Class they seek to reptesent request relief as describe
            4
                         below.
            5
                         Sixth Cause of Action Against THERMO FISHER SCIENTIFIC, INC., and/o
            6            DOES: lFaHure to Pay All Wages Due at the Time of Termination from Employmen
                         (Lab. Code§§ 201-203)
            7
                 102.    Plaintiff and those similarly situated Class members hereby incorporate by reference eac
            8
                         and every other paragraph in this Complaint herein as if fully plead.
            9
                 103.    Plaintiff STEVEN DE LA CRUZ terminated his employment with THERMO FISHE
           IO
           11
                         SCIENTIFIC, JNC., and/or DOES.

           12 104.       Whether Plaintiff STEVEN DE LA CRUZ voluntarily or involuntarily terminated hi

          . 13           employment with THERMO FISHER SCIENTIFIC, JNC., and/or DOES, Defendant
 ,,   '                  and/or DOES did not timely pay him straight time wages,· overtj1;e wages, meal period
           14

           15            premiums, and/or rest period premiums, owe.d at the time'°ofhis termination ..

           16 105.       Numerous members. of the Class are no longer employed by THERMO FI SHE

           17            SCIENTIFIC, INC., and/or DOES. They were either fired or quit THERMO FISHE

           18            SCIENTIFIC, INC., and/or DO~S employ. THERMO FISHER SCIENTIFIC; INC.

           19            and/or DOES did not pay all timely wages owed at the time of their termination.

           20 106.       Labor Code section 203 provides that, if an employer willfully fails to pay, withou
           21           .abatement or reduction, in accordance with Labor Code sections 201,201.5, 202 and 205.5,
           22            any wages of an employee who is discharged or who quits, the wages of the employee shal
           23            continue. at the same rate, for up to thirty (30) de,ys from the due date thereof, until paid o
           24           . until an action therefore is commenced.
           25 107. .THERMO FISHER SCIENTIFIC, INC., and/or DOES failed to pay Plaintiff STEVEN D •

           26            LA CRUZ a sum certain at the time ofhis termination or within seventy-two (72) hours o
           27            his resignation, and have failed to pay those sums for thirty (30) days thereafter. Pursuan
           is

                 CLASS ACTION COMPLAINT                             23
                                                                      •
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      1
                  to the provisions of Labor Code section 203, Plaintiff STEVEN DE LA CRUZ is entitle
      2
                  to a penalty in the amount of his daily wage, multiplied by thirty (30) days.
      3
           108.   When Plaintiff and those members of the Class who are former employees of THERM
      4
                  FISHER SCIENTIFIC, INC., and/or DOES separated from THERMO FISHf
      5
                  SCIENTIFIC, INC., and/or DOES employ, Defendants and/or DOES willfully failed t
      6
                  pay all straight time wages, overtime wages, meal period premiums, and/or rest perio
     '7
                  premiums owed at the time of termination.
      8
           109.   THERMO FISHER SCIENTIFIC, INC., and/or DOES failure to pay said wages to Plaintif
      9
                  STEVEN DE LA CRUZ and members ·of the Class he seeks to represent, was willful i
     10
                  that THERMO FISHER SCIENTIFIC, INC., and/or DOES and each ofthem knew th
     11
                  wages to be due, but failed· to pay them.
    · 12
           110.   As· a consequence of THERMO FISHER SCIENTIFIC, INC., and/or DOES willfu
     13
                  conduct in not paying wages owed at the time of separation from employment, Plaintif
                      ~                                                                 .


                  STEVEN DE LA CRUZ and members of the proposed Class are entitled to thirty (30) day
    ·15
                  worth of wages as a penalty under Labor Code section 203, together with 'interest thereo
     16
                  and attorneys' fees and costs.
     17
     18 llL       WHEREFORE, Plaintiff and th~ Class he seeks to represent request relief as described

     19           below.

     20           Seventh Cause of Action 'Against THERMO FISHER SCIENTIFIC, INC., and/o
                  DOES: Violation of Unfair Competition Law California Bus. & Prof. Code 17200
     21           et seq.)
            ')

     22 112.      Plaintiffs and those-similarly situated Class members hereby incorporate by reference eac
     23           and every other paragraph in this Complaint herein as if fully plead.

     24 113.      THERMO Fl SHER SCIENTIFIC, INC., and/or DOES failure to pay all straight time an
                                1




     25           overtime wages earned, failure to provide compliant meal and/or rest breaks and/o
     26           compensation in lieu thereof, failure to itemize and keep accurate records, failure to pay al
     27           wages due at time of tennination, as alleged herein, constitutes unlawful activity prohi bite
     28


           CLASS ACTION COMPLAINT                             24
                                                                        •
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                   by California Business and Professions Code section 17200, et seq.
     2
          ·114.    The actions' of THERivfO
                                   I
                                            FISHER SCIENTIF][C, INC., and/or DOES in failing to pa
     3
                   Plaintiff and members of the proposed Class in a lawful manner, as alleged herein,
     4
                  · constitutes false, unfair, fraudulent and deceptive business practices, within the meanin
     5                           I
                   of Cal[fornia Business and Professions Code section 17200, et seq.
     6
          115.     Plaintiff is entitled to an injunction and other equitable relief against such unlawfu
     7
                   practices in order to prevent future damage, for which there is no adequate remedy at law
     8
                   and to avoid a multiplicity of lawsuits. Plaint:tff brings this cause individually and a
     9
                   members of the general public actually hanned and as a.representative of all others subjec
                                     .                                                        (
    10
                   to THERMO FISHER SCIENTIFIC, INC.,.and/or DOES unlawful acts and practices.
    1.1
          116.     As a' result of their unlawful acts, THERMO
                                                           .
                                                               FISHER SCIENTIFIC, INC., and/or DOES
    12                    .



                   have reaped and continue to reap unfair benefits a.t the expense of Plaintiff. and the propose
    13                                                                                                    , ..



                   Class he seeks to represent.THERMO FISHER SCIENTIFIC, INC., and/or DOES shoul
    14
                   be enjoined from this activity and made to di:;gorge, these ill-gotten gains and restor
    15
                   Plaintiff and the members of the proposed Class puisu_ant to Busin~ss and Professibns Cod
    16
                   section 17203. Plaintiff is informed and believes, and thereon alleges, that Defendant
    17
                   and/or DOES are unjustly enriched through their policy of not all wages owed to Plaintif ·
    18

    19             and members of the proposed class ..

    20 117.        Plaintiff i:s info1med and believes,. and thereon alleges, that Plaintiff and members of th

    21             proposed class are prejudiced THER1v1O FISHER SCIENTIFIC, INC., and/or DOES

    22             unfair trade practices.

    23 118.        As a direct and proximate result of the unfair business practices of THERMO FISHE

    24             SCIENTIFIC, INC., and/or DOES, and each of them, Plaintiff, individually and on behal
                                     .                                          '                              ,-
    25             of all employees similarly situated, are entitled to equitable and injunctive relief, includin

    26            full restitution and/or disgorgement of all wages and premium pay which have bee

    27             unlawfully withheld from Plaintiff and member!, of the proposed Class as a result of th

    28            business acts and practices described herein and enjoining THERMO FISHE


          CLASS ACTION COMPLAfNT                             25
                                                                          •
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      1
                     SCIENTIFIC, INC., and/or DOES from engagirng in the practices described herein.
      2
             119.    The illegal conduct alleged herein is continuing, and there is no indication that THERM
      3
                     FISHER SCIENTIFIC, INC., and/or DOES will cease and desist from such activity in th
      4
                     future. Plaintiff alleges that if THERMO FISHER SCIENTIFIC, INC., and/or DOES ar
      5
                     not enjoined from the conduct ,set forth in this Complaint, they will con~inue the unlawful
      6
                     activity discussed herein.
      7
             120.   ·Plaintiff further requests that the Corni issue a preliminary and permanent injunctio
      8
                     prohibiting THERMO FISHER SCIENTIFIC, INC., and/or DOES from continuing t~ no
      9
                    .pay Plaintiff and the members of the proposed Class overtime wages as discussed herein.
    10
             121.    WHEREFORE, Plaintiff and the. Class he seeks to represent request relief as describe
    11
                    · below.
     1,2
            .v.      PRAYER FOR RELIEF·
     13
           . WHEREFORE, Plaintiff prays foi' judgment as follows:
    14
                                                               '·                                           r
                     1.        That the Court determine· that this action may be maintained as a class action;
    15                                                                             ',,
                     2.        For compensatory damages; in an amount according to proof at trial, with interes
    16
                               thereon;
    17
     18 ,            3.        For economic and/or special damages in an amount according to proof with inieres

    19                         thereon;

    20               4.        For unpaid straight time and overtime wages, in an amount according to proof a

    21                         trial, with interest thereon;

    22               5.        For compensation for all time worked;

    23               6.        For compensation for not being provided paid rest breaks;

    24               7.        For compensation for not being provided paid meal periods;

    25               8.        For damages and/or monies owed for failure to compiy with itemized employe

    26                         wage statement provisions;

    27               9.        For all waiting time penalties owed;

    28               10.       That Defendants be found to have engaged in unfair competition in violation o


            CLASS ACTION COMPLAINT                                  26
                                                                      •
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                       sections 17200 et seq. of the California Business and Professions Code;
      2
                11.    That Defendants be ordered and enjoined
                                                          )
                                                               to make. restitution to the Class due t
      3
                       their unfair competition, including disgorgement of their wrongfully ·withhel
      4
                       wages pursuant to Calffornia Business and Professions Code sections 17203 an
      5
                       17204;
      6
                12.    That an order of specific performance of all penalties owed be issued unde
      7                     )




      '
                       Business and Professions Code sections 17202;
      8
                13.    That Defendants be enjoined from continuing the illegal course of conduct, allege
      9
                       herein;
     10
                14.    That Defendants further be enjoined to cease and desist from unfair competition i
     11
                       violation of section 17200 et seq. of the Cal(fornia Business and_Professions Code·
     12
                15.    That Defendants be enjoined from further acts of restraint of trade or unfai . ·
     13
                       competition;
     14
               . 16.   For attorneys' fees;
     15
                17.    For interest accrued to date;
     16
                18.    For costs of suit and expenses incuJTedherein; and
     17
                19. · · For any such other and further relief as the Court deems just and proper.
     18

     19
   · 20 Dated: March 6, 2017                           THE TURLEY & MARA LAW FIRM, APLC

     21                                                  . 0!L/ .
     22                                                     r
                                                            1/
                                                       Wil fam Turley, Esq.
     23                                                Dave Mara, Esq.
                                                       Jill Vecchi, Esq.
     24                                                Representing Plaintiff STEVEN DE LA CRUZ
     25                                                on behalf of himself, all others similarly situated,
                                                       and on behalf of the general public.
    26,

    27
     28
                                                                I

          CLASS ACTION COMPLAINT                           27
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                                             Exhibit A
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     1                I, Karen A. Fait, declare:
     2

     3                        1.     I am a Senior Human Resources Generalist for Thermo Fisher Scientific,
     4        Inc. ("Thermo Fisher")'s Customer Channel Group ("CCG"). I have held this position since
     5        1992. I am assigned to CCG' s Chino, California location, which was Plaintiff Steven De La
     6        Cruz's work location as well. I have worked at the Chino location since the facility opened in
     7        2003.
     8                       2.      I have personal knowledge of the matters set forth in this declaration.    I

 9            called as a witness, I could and would testify competently to the facts stated herein.

10                           3.      As part of my job duties as a Senior Human Resources Generalist, I have
11           access to personnel employee records of CCG employees ("Personnel Records"), which are

12           prepared and maintained in the ordinary course of business. These Personnel Records include,
13           among other things, personnel files and payroll records relating to employees. I regularly use and
14           rely upon these Personnel Records in the course of performing my job duties

15                           4.     According to the Personnel Records, Plaintiff Steven De La Cruz was
16           employed from May 19, 2014 to June 8, 2015. This comports with my personal recollection
17           regarding the dates of Mr. De La Cruz's employment.

18                           5.     During Plaintiff's employment, he always worked as a non-exempt

19           Material Handler at CCG's Chino, California location. Nothing in Plaintiff's personnel records

20           indicates that he ever worked in Alameda County. Moreover, my personal recollection as the
21           Senior Human Resources Generalist assigned to CCG's Chino location during Plaintiff's

22           employment is that Plaintiff never worked anywhere but Chino, California.

23                          6.      During Plaintiff's employment, he was required to track his work time

24           using an electronic clock system located in the Chino facility where he worked. Not only did

25           Plaintiff report his time worked from the Chino facility, he also took any rest or meal breaks at or
26           around the Chino facility. I am not aware of Plaintiff ever reporting his time or taking a rest or
27           meal break in Alameda County.
28
         ~             -1-
         i   - - -- - - --                                                     - - ------l
                         FAIT DECL. ISO DEFENDANT'S MOTION TO TRANSFER VENUE
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 1              I declare under penalty of perjury under the laws of the State of California that the

 2       foregoing is true and correct.

 3              Executed this 8th day of August, 2017, at Chino, California.

 4
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                                                     J<   @kb          a f!z.ut=
                                                                     Karen A. Fait

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                        FAIT DECL. ISO DEFENDANT' S MOTION TO TRANSFER VENUE
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  1                                        [PROPOSED] ORDER
  2          On October 24, 2017, before the Honorable Brad Seligman, the Motion to Transfer Venue
  3   filed by Defendant Thermo Fisher Scientific Inc. (“Defendant”) (“Motion to Transfer”) came on
  4   for hearing. All parties were represented at the hearing by their attorneys of record. The Court,
  5   having fully considered the papers, evidence, and argument presented by the parties’ counsel,
  6   HEREBY FINDS AND ORDERS as follows:
  7          1.      The Superior Court of the State of California in and for the County of Alameda is
  8                  not the proper court for trial of this action under California Code of Civil
  9                  Procedure sections 395.5.
 10          2.      Pursuant to California Code of Civil Procedure section 396b. This action is
 11                  ordered transferred to the Superior Court of the State of California in and for the
 12                  County of San Diego.
 13          Accordingly, the Motion to Transfer is GRANTED.
 14
             IT IS SO ORDERED.
 15
       DATED: _________________
 16

 17

 18                                                                Hon. Brad Seligman
                                                                Judge of the Superior Court
 19

 20

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                    [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO TRANSFER
Case 5:17-cv-01918-DDP-SP Document 1-1 Filed 08/17/17 Page 134 of 134 Page ID
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